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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------- x
WAYFARER STUDIOS LLC, a Delaware Limited                             :
Liability Company, JUSTIN BALDONI, an individual, :                      Civil Action No.
JAMEY HEATH, an individual, IT ENDS WITH US                          :
MOVIE LLC, a California Limited Liability Company, :                     COMPLAINT
MELISSA NATHAN, an individual, and JENNIFER                          :
ABEL, an individual,                                                 :
                                                                     :
                           Plaintiffs,                               :
                                                                     :
                  -against-                                          :
                                                                     :
 BLAKE LIVELY, an individual, RYAN REYNOLDS, :
 an individual, LESLIE SLOANE, an individual, and                    :
 VISION PR, INC., a New York corporation,
                                                                     :
                                                                     :
                           Defendants.
                                                                     :
                                                                     :
                                                                     :
                                                                     :
                                                                     x
--------------------------------------------------------------------



        Plaintiffs WAYFARER STUDIOS LLC, a Delaware Limited Liability Company, JUSTIN

BALDONI, an individual, JAMEY HEATH, an individual, IT ENDS WITH US MOVIE LLC, a

California Limited Liability Company, MELISSA NATHAN, an individual, and JENNIFER

ABEL, an individual, a California Limited Liability Company (collectively, “Plaintiffs”) bring

their claims for damages against BLAKE LIVELY, an individual, RYAN REYNOLDS, an

individual, LESLIE SLOANE, an individual, and VISION PR, INC., a New York corporation, and

allege as follows:




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                                        INTRODUCTION

       1.      The following is not a story Plaintiffs ever wished to tell. Unfortunately, Defendant

Blake Lively (“Lively”) has unequivocally left them with no choice, not only to set the record

straight in response to Lively’s accusations, but also to put the spotlight on the parts of Hollywood

that they have dedicated their careers to being the antithesis of. That task was always going to be

an uphill battle. They never imagined they would encounter it to this degree.

       2.      Had Lively chosen to merely ride out the self-inflicted press catastrophe she faced

in August 2024, the public would likely have moved on and never known the truth about her. They

would have never known that she deliberately and systematically robbed Plaintiffs Justin Baldoni

(“Baldoni”) and Wayfarer Studios, LLC (“Wayfarer”) of their movie. No one except the parties

involved would have known that she used threats and extortion to relegate the colleagues she once

highly praised to a basement to sit out their own premiere, while she enjoyed the spotlight of a

premiere and afterparty that was ultimately co-financed by both Wayfarer and Sony. She would

have gotten away with these things and more, because Baldoni, focused entirely on seeing the film

succeed, would have held his tongue, as he had through the year and a half that Lively tormented

him, his family, and his partners.

       3.      But Lively could not tolerate her publicly tainted image for even a moment, and

further could not accept that it was entirely of her own making. She needed a scapegoat. And rather

than admit and take accountability for her own mishaps, she chose to blame Plaintiffs, in a

malicious and unforgivably public manner. When she and Reynolds could not force Baldoni and

Wayfarer to read a statement she and her representatives prepared, extorting them to “take

accountability” in defense of Lively’s actions, she lay in wait for months, preparing to publicly

attack Baldoni by falsely claiming that he had sexually harassed her. The same falsified stories she




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had calculatingly devised and used throughout the production of this film in order to take control

were now being used publicly to destroy Baldoni and Plaintiffs.

       4.      Lively stole Wayfarer’s movie, hijacked Wayfarer’s premiere, destroyed Plaintiffs’

personal and professional reputations and livelihood, and aimed to drive Plaintiffs out of business

entirely. It further appears that Lively worked for months with the equally powerful New York

Times to prepare a false and damaging narrative to deploy against Plaintiffs. Not surprisingly,

Lively prepared an administrative complaint with the Civil Rights Department in California (the

“CRD Complaint”) in an attempt to use the litigation privilege to shield her behind-the-scenes

conspiracy with the New York Times, but, upon information and belief, the CRD Complaint was

filed only after Defendants spent months feeding falsehoods to the New York Times intending that

they be disseminated to damage Plaintiffs. Lively delivered the CRD Complaint to Plaintiffs over

the Christmas holiday, and rather than promptly file a lawsuit, Lively, on information and belief,

leaked the typically private CRD Complaint to the public, utilizing the New York Times as conduit

for her revenge. This CRD Complaint—and, upon information and belief, the false information

delivered to the New York Times before the CRD Complaint was filed—was rife with lies and

doctored “evidence.” Lively then waited eleven days to file suit against Plaintiffs, in what seemed

to be a desperate move after the public questioned why she had never filed a civil lawsuit. On

information and belief, Lively never intended to file a civil lawsuit, which would have triggered

Plaintiffs’ right to discovery, including obtaining evidence and deposing Lively under oath. By the

time Lively actually filed a lawsuit against Plaintiffs, the damage to Plaintiffs was done by virtue

of Lively’s months of colluding with the New York Times on a false and malicious narrative

unshielded by any privilege. Make no mistake: these actions were deliberate.




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       5.      Plaintiffs now have no choice but to fight back armed only with the truth—and the

mountain of concrete evidence disproving Lively’s allegations. Heartbreakingly, a film that

Baldoni envisioned years ago would honor the survivors of domestic violence by telling their story,

with the lofty goal of making a positive impact in the world, has now been overshadowed beyond

recognition solely as a result of Lively’s actions and cruelty.

       6.      Lively wields immense power as one of the world’s best-known celebrities. In

2024, she used that power to seize control of the Film “It Ends With Us” (the “Film”), produced

and co-financed by Plaintiff Wayfarer and directed by Baldoni, who also portrayed the lead,

“Ryle.” She set out to destroy Plaintiffs’ livelihoods and businesses if they did not bend to her

incessant demands, and when they refused to give way, she did exactly that, accusing them of foul

and reprehensible sexual misconduct. Wayfarer was blindsided when Lively, upon the conclusion

of the industry strikes, refused to return to production absent the company’s agreeing to her non-

negotiable “Protections for Return to Production” (the “Return to Production Demands”) that

insinuated misconduct had occurred during filming (which, as evidence will establish, did not).

Wayfarer was equally blindsided when Lively leveraged this document, essentially signed under

duress, to seize control of the Film—ultimately getting her own cut of the Film and a coveted

P.G.A mark and, at her command, ousting Baldoni from all marketing and promotional efforts

with many of the cast members and the author, all of whom he, until then, had longstanding

positive relationships with.

       7.      Lively’s exclusion of Baldoni from the promotion of the film backfired, as she

chose to callously promote her hair care and alcoholic beverage products rather than bring attention

to survivors of domestic violence, the entire premise of the Film. Baldoni, now prohibited from




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attending events or taking photos with Lively and the cast, promoted the film as he had always

intended, ever since he first began the process of making the film years ago.

        8.       When Lively faced significant public backlash from what was often referred to as

her “tone-deaf” and insensitive press tour for the Film, she doubled down on her false and

misleading accusations against Baldoni. She seemed determined to make Baldoni the real-life

villain in her story. Her publicist, Leslie Sloane (“Sloane”), went so far as to propagate malicious

stories portraying Baldoni as a sexual predator (a term Lively’s husband, Ryan Reynolds, also used

to describe Baldoni when he called Baldoni’s own agent). Modern society justly reviles sexual

harassers and abusers, and Lively knew full well that making those allegations would be a career

death sentence for Plaintiffs, especially given that Baldoni has lived his private and public life as

an impassioned advocate for gender equality and healthy masculinity. She did not expect, however,

that Plaintiffs would be able to meet those allegations with concrete documentary evidence

disproving her claims and demonstrating that they—not Lively—were the targets of a calculated

and vitriolic smear campaign. That evidence, included in part herein, is the basis for Plaintiffs’

claims against Defendants for their extortion, defamation, and further wrongdoing.

        9.       The Film was the hotly anticipated adaptation of a worldwide best-selling book by

Colleen Hoover, and by starring in it as “Lily,” Lively stood to enhance her already considerable

star power. But she was not content merely to headline one of the year’s biggest movies. Instead,

apparently driven by overweening ambition and a need for control 1, Lively eventually leveraged

her power as a wealthy celebrity to wrest the reins from her costar and the Film’s director, Baldoni,

insisting on total control over every aspect of the Film she could get her hands on, from wardrobe


1
 In an early meeting with Baldoni, Lively foreshadowed what was to come, stating, “I’m afraid you have too much
power,” referencing Baldoni’s dual role as producer and director. This statement made an early impact on Baldoni,
who felt compelled to reassure her the relationship would be collaborative and went above and beyond to make it so.
This was not an invitation to sideline him and his producing partners.


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to marketing strategy to music, even creating her own cut of the Film. Not only did Lively’s power

play cost numerous people their jobs, but at every turn, her wrongheaded creative decisions

reflected her fundamental lack of understanding of the book the Film was based on. This came as

no surprise to her worried colleagues, given that, even well into production, Lively had not even

read the book. 2

September 14, 2023 text message from Baldoni to Heath:




         10.      Lively’s disastrous marketing efforts and tone-deaf press interviews and

appearances backfired and led to widespread criticism of Lively’s promotional approach to the

Film’s highly sensitive focus on domestic violence. Past videos of Lively resurfaced online—

videos that appeared to solidify public perception that Lively was an insensitive “mean girl” who

cared more about peddling her products than acknowledging the domestic violence survivor

community. Social media commenters quickly pointed out that her tie-in of her alcohol beverages

was in particularly poor taste, given the World Health Organization estimates that 55% of domestic

violence incidents are linked to alcohol. Unbelievably, Lively made this harmful and irresponsible

message worse by naming a drink at her premiere afterparty “Ryle You Wait,” after the character

who committed domestic violence in the Film. The suggestion that Wayfarer caused the online

backlash against her is absurd given the evidence of her own insensitivity.




2
 Lively later claimed she read the book, but text evidence shows that well into production she had not, and in fact
expressed she had chosen not to read the book. She even tried to “Google” the color of her character’s hair rather than
pick up the book.


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       11.     Sadly, this backlash could have been avoided had she not refused to meet with the

Film’s domestic violence partner organization, nomore.org, as Baldoni had offered. Even a brief

visit to their website, or a simple online search, would have readily uncovered this and other

information on the topic of domestic violence.

       12.     Meanwhile, Baldoni, whom Lively herself had ensured was excluded from

participating in her marketing efforts, was safeguarded from this backlash as he focused on

amplifying the voices of those affected by domestic violence, as originally intended when he

reached out to author Colleen Hoover five years earlier, and documented by his partnership with

nomore.org dating back to 2022. Baldoni’s sincere efforts were well received, even more so in

contrast with Lively’s campaign to downplay the premise of the film and sell haircare and alcohol

products. Lively, enraged that her plans were foiled and armed with “proof” of alleged sexual

harassment in the form of a 17-point list of demands she had required Plaintiffs to sign just months

earlier, focused her rage on Baldoni, blaming him for the consequences of her own missteps.

       13.     Meanwhile,     Stephanie    Jones       (“Jones”),   founder   of   Jonesworks   LLC

(“Jonesworks”), Wayfarer’s and Baldoni’s erstwhile PR firm, was embroiled in a personal and

professional crisis. Her increasingly erratic behavior had driven away not only high-profile clients,

but also her right-hand woman, Plaintiff Jennifer Abel (“Abel”), who oversaw the Jonesworks Los

Angeles office. Jones’ behavior grew more and more bizarre as she lashed out at loyal clients like

Wayfarer in rage-filled rants, and veered away from professional experience and strategy when

making critical decisions affecting Jonesworks clients. After a final outburst against Wayfarer in

which she outright refused to comply with their direct instructions, Wayfarer had no choice but to

cut ties with Jones and Jonesworks rather than leave their public image in the hands of what

appeared to be an out-of-control Jones, whose actions were not aligned with Wayfarer and




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Baldoni’s worldview and wishes. Jones was filled with impotent rage at Wayfarer and at Abel,

who a month before had announced her decision to leave Jonesworks to form her own company.

Jones saw an opportunity for revenge. She took it.

        14.      On information and belief, Jones, Lively, Reynolds, and Leslie Sloane (“Sloane”),

Lively’s publicist, and others concocted a plan whereby Jones would seize Abel’s phone upon her

departure 3 and mine it for messages that, stripped of context, could be used to concoct a false

narrative that the disastrous press coverage of Lively’s callous and opportunistic comments—and

the public reaction to those comments—were not Lively’s fault at all, but the result of a calculated

(though in reality, nonexistent) smear campaign by Baldoni and his team. On information and

belief, Jones’ role in this scheme accounts for her conspicuous absence from Lively’s re-telling of

events. Plaintiffs are informed and believe that Defendants have been working in concert since at

least August 21, 2024, when Sloane boasted to Nathan that she had seen her texts and that Nathan

would soon be sued.

        15.      Though Lively claimed Baldoni was the one smearing her, the reality is that it was

Lively and her team who carefully planned and implemented a vile smear campaign against

Baldoni and Wayfarer to deflect attention and blame for Lively’s disastrous misjudgments. Lively

would recast herself as the long-suffering martyr by portraying Baldoni and Wayfarer as her

persecutors: the masterminds behind a smear campaign that evidence will show did not exist.

Defendant Sloane of Vision PR (“Vision”) was all too willing to carry out this strategy—especially

once armed with ammunition by Jones, who was bent on revenge against her ex-employee and

former client.



3
 While it is not entirely uncommon to request that an exiting employee return company property, it is not often the
case that personal phones, phone numbers, and communications are seized, made public, and weaponized against the
employee and the company’s own clients.


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       16.     Shortly after the Film’s premiere and the public backlash against Lively, Lively,

together with her husband, Defendant Ryan Reynolds (“Reynolds”), demanded through their talent

agency, which also represented Wayfarer and Baldoni, that Plaintiffs publicly apologize for so-

called “mistakes” during production in order to deflect the avalanche of negative media coverage

of Lively. Reynolds and Lively drafted a statement and demanded that Baldoni, Wayfarer, and

Heath issue that statement, requiring them to apologize to the public and fall on their sword, despite

having done nothing wrong—or else the “gloves would come off.” Multiple WME executives

acknowledged that in their experience, Lively and Reynolds’ threats were not to be taken lightly,

though admitting to false, vague, and unspecified “mistakes” would be tantamount to admitting to

career-ending misconduct. Baldoni, Wayfarer, and Heath refused to apologize for sins they had

never committed. They took a stand, knowing full well that Lively and Reynolds would bring the

full might of their celebrity artillery against them. And that is precisely what happened.

       17.     Lively, working with her husband, her publicist, and Jones, among others, set out

on a campaign to tar and feather Plaintiffs in the press. They conspired and worked in concert with

the New York Times to put out a blockbuster news report as devastating as it was false. They

advanced a fabricated narrative in the press that Plaintiffs had sexually harassed Lively, then

embarked on a calculated and malicious smear campaign to destroy her reputation as retaliation

for daring to complain about the harassment. Defendants laid their trap carefully over a period of

months before springing it all at once on the eve of the winter holidays. Just as plainly, they knew

full well that their claims were entirely baseless, because their own wrongfully obtained

“evidence” proved that neither the alleged sexual harassment nor the accompanying smear

campaign against Lively ever existed. Yet Lively moved forward with her plan with ruthless

precision, doubling down in the face of abundant evidence casting doubt on the veracity of her




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story. Lively even went so far as to serve her lawsuit on the Los Angeles-based defendants as they

evacuated their homes in the midst of devastating fires engulfing their city. On a day when

Defendants were gathering their kids and pets, preparing “go bags” and monitoring evacuation

orders while fearing for their homes, Lively—from the safety of her penthouse in New York—

deployed process servers in the midst of these troubling times.

        18.    At bottom, this is not a case about celebrities sniping at each other in the press. This

is a case about two of the most powerful stars in the world deploying their enormous power to steal

an entire film right out of the hands of its director and production studio. Then, when Lively and

Reynolds’ efforts failed to win them the acclaim they believed they so richly deserved, they turned

their fury on their chosen scapegoat. Tolerating a year and a half of their behavior while remaining

polite and professional at every turn offered Badoni and Wayfarer no protection.

        19.    By bringing this Complaint, Plaintiffs commit themselves to seeking and proving

the facts, based not on insinuations built from selectively edited and context-free text snippets, but

by putting all the evidence before the Court—and the public. When Plaintiffs have their day in

court, the jury will recognize that even the most powerful celebrity cannot bend the truth to her

will.

        A.     Baldoni and Wayfarer Purchase the Rights to It Ends With Us

        20.    Baldoni co-founded Wayfarer in 2019. From the beginning, Wayfarer was

dedicated to being a different kind of studio—one that produced world-class entertainment driven

by a powerful vision for change.

        21.    Baldoni, whose film career was dedicated to producing and directing meaningful

films to have a positive impact on the world, was deeply moved when he read the book It Ends

With Us, and genuinely believed he could make a film that could save lives. His last two films




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were created as a result of a deep sense of responsibility to share meaningful stories. Baldoni’s

feature film directorial debut, Five Feet Apart, was based on a young woman, Claire Wineland,

who lived with Cystic Fibrosis (“CF”) and courageously documented her plight on YouTube.

Baldoni, his family, and friends developed a friendship with Claire, whose journey deeply inspired

Baldoni. Before Claire passed away, Baldoni promised he would tell her story. And he did just

that, in the film he directed. The film had wide impact on the CF community, and Baldoni still

receives messages about the film’s impact. Baldoni also supports her foundation yearly and

remained close with Claire’s parents, even bringing her father as his guest to the premiere of It

Ends With Us. Baldoni’s more recent film was the Wayfarer film Clouds, a true story about a

teenager with cancer, Zach Sobiech, who finds joyful purpose and inspiration in music.

       22.     In pursuit of that same vision, in 2019 Wayfarer acquired the film rights to It Ends

With Us, a Colleen Hoover novel published in 2016. Though positioned as a romance novel, the

book explores themes of domestic violence and generational patterns of abuse, and these messages

resonated deeply with readers and drew a passionate fan base. In 2021, the novel exploded in

popularity thanks to the social media phenomenon “BookTok.” Many fans expressed how

important the book was to them as survivors of domestic violence and intimate partner abuse.

       23.     When It Ends With Us author Colleen Hoover watched Five Feet Apart in theaters,

she told Baldoni, “you are the right person to make this movie” (referring to It Ends With Us).

Baldoni’s early emails to Hoover demonstrate his commitment to doing so in the manner he

envisioned would be most impactful. In fact, it was Hoover who suggested Baldoni portray “Ryle.”




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         24.      Soon after, Wayfarer partnered with Sony to co-finance and distribute the Film.

Their agreement included, at Wayfarer and Baldoni’s insistence that the provision was a deal-

breaker, a requirement that 1% of the Film’s proceeds be donated in support of survivors of

domestic abuse. That 1% was ultimately earmarked for the organization “No More,” with which

Baldoni had sought to partner with as early as September 2022. 4

         25.      As they began making the Film, Baldoni and Wayfarer felt an immense

responsibility to do justice not only to the story of protagonist Lily Bloom, but to the stories of

survivors around the world. Plaintiff Heath, CEO of Wayfarer, expressed to Forbes on June 28,

2024 his high hopes for the film 5: “I hope that people leave the theater feeling inspired - that for

those who have been hurt, that they feel seen and the story was told in a way that honored them. I

feel like people who may in themselves, as someone that may hurt somebody, may think twice about

it. So, I hope that people leave feeling that they got a glimpse into a world that, often times, we

turn our eyes away from.”

         26.      In casting Blake Lively, a world-renowned actor with talent and charisma, in the

leading role, they entrusted her with that vision, to bring Lily to life. Although Wayfarer learned

that Lively had a reputation for being difficult to work with, Baldoni at the time was not dissuaded

and found her to be genuine.




4
  Stunningly, later in the process, Lively refused the opportunity to meet with No More, despite playing the lead role
in a movie centered on themes of survival and resilience in the face of domestic abuse.
5
  Jeff Conway, “Meet the Wayfarer Studios Team Bringing ‘It Ends With Us’ to Theaters,” Forbes (Aug. 8, 2024),
https://www.forbes.com/sites/jeffconway/2024/08/08/meet-the-wayfarer-studios-team-bringing-it-ends-with-us-to-
theaters/.


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       B.      During Pre-Production, Baldoni and Lively Begin a Promising and Close

               Collaboration

       27.     On or about December 31, 2022, Lively agreed to take the lead role of Lily Bloom.

As part of the subsequent negotiations, Lively was granted an executive producer credit, a title

often given to talent of her stature. (Lively had requested a producer credit, but Wayfarer and Sony

demurred, given that such a title would not accurately reflect the role she was asked to play in the

production). Wayfarer did not request nor require that Lively contribute to the Film in any capacity

beyond her roles as actor and executive producer.

       28.     In the beginning, it appeared that Baldoni and Lively would have a positive,

collaborative creative partnership. Baldoni and Lively worked closely in the early days of the Film,

trading ideas about filling key roles in the Film’s cast and crew.

       29.     Their working relationship grew close. Baldoni and Lively shared stories and

pictures from their lives, commiserated over family illnesses and exchanged jokes and memes.

Baldoni offered concern and support when Lively faced family health concerns. They texted

almost daily, and a friendly banter established a comfortable dynamic that, under typical

circumstances, would have made working together easy.




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       30.     Lively even felt comfortable enough to make silly jokes redirecting a sweet

compliment Baldoni gave:




       This was the nature of their relationship, which made Lively’s later allegations all the more

baffling.

       C.      Lively Begins Asserting Control Almost Immediately

       31.     Almost immediately, Lively began inserting herself into the production process in

intrusive ways well beyond the scope of her contractual entitlements. For example, Lively began

to insist on creative control over her character’s wardrobe. While lead actors are sometimes granted

approval over their characters’ general look, they generally do not receive full control over



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wardrobe decisions without input from the director or producers. What may seem like an

innocuous request can in fact have monumental impact on a film production.

       32.     Ignoring the director’s vision for her character and disposing of the weeks of effort

and creativity spent by the wardrobe team on shopping and carefully crafting her wardrobe, Lively

sent hundreds of images to the Film’s costume designer, including into the late hours of the

evening, depicting the style of wardrobe she wanted for her character. The costume designer had

to re-shop Lively’s wardrobe, far exceeding the allocated budget and diverting time and resources,

while also preparing wardrobes for the rest of the cast. At one point, Lively insisted that her

character “had money” and could afford $5,000 shoes—despite being a fledgling small business

owner. This forced Baldoni to rethink the entire script that had been in the works for well over a

year and was approved by both Sony and Wayfarer – a script that Wayfarer had commissioned

multiple drafts of and incorporated countless notes (including input from the book’s author,

Colleen Hoover). The wardrobe budget ballooned.

       33.     Lively often refused to participate in wardrobe fittings at the production office,

which was a mere fifteen minutes from Lively’s home. Instead, she insisted that the costume

department pack up wardrobe and deliver it to her personal residence. Loading the wardrobe

department on trucks and delivering the contents to Lively’s home in the middle of congested

Manhattan for fittings cost time and money—always in short supply on any major film. Requests

of this nature are typically made during contract negotiations; since Lively made no such request

at the time, this added expense was not included in the budget. Lively, who had a greater obligation

to the studios as an executive producer, paid no heed to budget constraints, let alone to the months

of planning that had already been completed.




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        34.      In an effort to maintain harmony at the start of their working relationship and to

avoid further delays caused by wardrobe conflicts, Baldoni and the studio reluctantly ceded full

control to Lively over her wardrobe. This concession quickly proved regrettable.

        35.      On the first day of principal photography, paparazzi captured and published photos

of Lively in character wearing her hand-picked wardrobe. These images were widely reported as

unflattering 6 and sparked a backlash from Sony. Baldoni received direct criticism from Sony, who

voiced serious concerns about the impact of the photos on the Film’s public reception.

        36.      Following these events, Baldoni approached Lively in her trailer to discuss

necessary wardrobe adjustments and resetting their relationship to assert his role as director and

his need to have approval over her wardrobe. The conversation, while professional, took

considerable time and was later grossly misrepresented in Lively’s CRD complaint, which falsely

characterized the exchange as a “lengthy outburst” that delayed filming and caused the crew to

“wait for hours while [Baldoni] cried in Lively’s dressing room.” On information and belief,

Lively circulated this false account to the New York Times with the intention and result that it be

widely published.

        37.      This conversation did not take hours, and any length of time it took was not because

Baldoni “cried for hours.” In truth, rather than take heed of the concerns of the film’s distributor

and director, Lively took this time to, among other things, suggest to Baldoni that he was being

“gaslit” by Sony, Heath, and the other producer, and try to convince him to let her continue to take

the helm. Baldoni did briefly become emotional during the conversation, but only in response to


6
  Notably, Lively herself had voiced insecurities about the public perception of her casting as Lily Bloom. Lily is
described as a twenty-three-year-old young woman and recent college graduate within the first few pages of the book,
which Lively would have known had she read the book before production (despite having admitted to ordering a copy
months before, which, remarkably, she ordered only after she had already committed to the role on December 20,
2022). Nevertheless, when Lively learned that Lily was a decade-plus younger than herself in the book, Lively asked
that author Colleen Hoover explain in her public casting announcement that they had decided to “age up” the book’s
characters for the Film. Hoover didn’t put the statement out in the way Lively requested. Lively was not happy.


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what he believed was a genuine compliment from Lively, praising his work as a director and actor.

In hindsight, this was part and parcel of the ongoing pattern of manipulation and gaslighting by

Lively, intended to continue to allow her autonomy over her wardrobe.

       38.     Lively later distorted this conversation in support of her baseless harassment

allegations, alleging that Baldoni made inappropriate “comments on her appearance.” In reality,

Baldoni, the film’s director, was relaying the distributor’s concerns and the widespread social

media criticism regarding the wardrobe’s failure to meet audience expectations—a sentiment

Baldoni shared. This incident is just one of the many examples of Lively’s troubling pattern of

manipulation and lies.

       39.     As another example, early in the pre-production stage, Lively sent Baldoni a long

text describing how directors never permitted her to write scenes for the movies she acted in nor

gave her writing credits, even making her hand-scribble her suggestions for lines so that they could

not be traced to her. Lively boasted that she had even written for her husband’s movies. Then

Lively asked if she could “take a pass” at writing the rooftop scene in It Ends With Us in which

the characters Ryle and Lily first meet. This pivotal scene, much beloved by book fans, was critical

for setting the tone for the movie, so Baldoni was reluctant to allow an actor (rather than a union

screenwriter) to rewrite this key scene. But Baldoni felt the need to allow Lively to rewrite the

scene and agreed to take a look at what she put together.

       40.     The draft of the rooftop scene that Lively sent Baldoni dramatically differed from

what had been written originally. Baldoni was hesitant about many of the changes, but thanked

Lively for her passion and diplomatically told her that the scene would likely end up being

somewhere between the original version and Lively’s version.




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       41.     Seemingly stung by Baldoni’s exceedingly mild resistance, Lively did not respond

and went silent for multiple days. Later, she confirmed (in a text message below) that Baldoni’s

response “of course, didn’t feel great for me. Or [another megacelebrity friend and Ryan

Reynolds]. To have my passion praised instead of my specific contribution.” Lively was referring

to an earlier meeting where Lively summoned Baldoni to her New York penthouse where Baldoni

was greeted by Ryan Reynolds, who launched into enthusiastic praise for Lively’s version of the

scene. Hours later, as the meeting was ending, a famous, and famously close, friend of Reynolds

and Lively, walked into the room and similarly began praising Lively’s script. Baldoni understood

the subtext: he needed to comply with Lively’s direction for the script.

       42.     Later, Baldoni felt obliged to text Lively to say that he had liked her pages and

hadn’t needed Reynolds and her megacelebrity friend to pressure him. Lively responded that the

two were her “dragons.” Lively went on to say:

       They [Reynolds and the megacelebrity friend] also know I’m not always good at making
       sure I’m seen and utilized for fear of threatening egos, or fear of affecting the ease of the
       process. They don’t give a shit about that. And because of that, everyone listens to them
       with immense respect and enthusiasm. So I guess I have to stop worrying about people
       liking me (“I don’t know” emoji) [emphasis added].

The message could not have been clearer. Baldoni was not just dealing with Lively. He was also

facing Lively’s “dragons,” two of the most influential and wealthy celebrities in the world, who

were not afraid to make things very difficult for him.




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       43.     “Difficult” proved to be a gross understatement. Though Baldoni initially invited

Lively to make changes to the script, Lively began altering the script daily. The frequency of

Lively’s revisions alarmed the producers, director, and studio, who anticipated that her interference

would persist “every day of the shoot” and disrupt the carefully planned production schedule. Each

shooting day was intricately scheduled long in advance, and Lively’s constant changes placed

significant stress on the production crew, not to mention financial strain on Wayfarer.




       44.     More than a year later, during a red-carpet interview at the New York film premiere,

Lively stated, “The iconic rooftop scene, my husband actually wrote it. Nobody knows that but



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you now.” This startling revelation directly contradicted Lively’s previous insistence that she had

written the scene—and certainly casts Reynolds’ high praise for the rewritten scene in a different

light. The film’s credited screenwriter, when asked about the claim that Reynolds had written the

scene, graciously responded, “So if I’m being told that Ryan wrote that, then great, how

wonderful.” She went on to acknowledge, “There were a few little flourishes that I did not write

. . . and if those flourishes came from Ryan, I think that’s wonderful.” 7 This was also the first time

that Plaintiffs learned that Reynolds—who had no formal role whatsoever in the Film’s

production—had made unauthorized changes to the script in secret. Baldoni, equally blindsided

by this news, which he discovered in real time during a recorded interview with Access

Hollywood, reacted by also praising Reynolds, so as not to harm Lively, Reynolds (who apparently

wrote the scene, and possibly others, during the WGA strike), or the Film.

          45.    Lively’s remarks about Reynolds’ purported contribution to the script raised

eyebrows sky-high at Sony, who told Wayfarer that they “certainly need[ed] some clarity on public

comments made about Ryan Reynolds potentially contributing writing services for the rooftop

scene.”




7
  See Benjamin VanHoose and Julia Moore, Blake Lively Says ‘Nobody Knows’ Ryan Reynolds Wrote a Scene in It
Ends With Us as Screenwriter Weighs In (Aug. 8, 2024), https://people.com/blake-lively-ryan-reynolds-wrote-scene-
it-ends-with-us-8692864.


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       46.     Still during the pre-production phase, Lively and Reynolds raised entirely false

allegations of fat-shaming against Baldoni: an accusation that, as evidence will show, was

categorically false.

       47.     Baldoni had been introduced to trainer “Don”—who became Baldoni’s personal

trainer—by Lively. Don directed Baldoni’s preparation for the Film role, including his nutrition

and exercise, making special accommodations for Baldoni’s back injury; Baldoni even paid to

receive Don’s meal delivery service.



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       48.     Privately, Baldoni reached out to Don, as his personal trainer, to ask what Lively

weighed so that he could train his back muscles in preparation for a lift scene. This was important

to avoid injury not only to Baldoni, who suffered from lifelong back injuries, multiple bulging

disks, and chronic pain but also to Lively if the lift could not be completed successfully and safely.

Notwithstanding Lively’s recent attempts to deny the existence of any such scene, it was only

nixed at her insistence after having been planned and rehearsed.


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       49.      The next morning, Baldoni was summoned to the penthouse by Lively and greeted

by Reynolds, who swore at Baldoni and accused him of fat-shaming his wife (“How dare you

fucking ask about my wife’s weight? What’s wrong with you?”). The confrontation from Reynolds

and Lively was so aggressive that Baldoni felt he had no choice but to offer repeated (and

completely unwarranted) apologies for what was a good faith and reasonable question to ask of

his trainer. Reynolds demanded Baldoni remove the scene entirely. Lively refused to perform the

lift scene in the end, even after it was rehearsed with a stunt double. In her own Complaint, Lively

flat out lies about the absence of this scene by claiming “the scene wasn’t in the film.” The only

reason the scene wasn’t in the film is because Lively and Reynolds ensured it was taken out of the

Film. Accommodating Lively, Baldoni re-wrote the scene with Lively, despite the fact that for

creative reasons, this scene was important to him as a storyteller and director.

       50.      In fact, Lively had earlier expressed insecurity about her postpartum figure, and

Baldoni made every attempt to genuinely reassure her. In this exchange, he stated, as her director,

that, “anything you feel insecure about we will talk through and get creative together and make

you comfortable. I just don’t want you to stress about your body, it’s the last thing you need.”

When he later tried to do just that, Lively responded with allegations of sexual harassment followed

by a lawsuit.




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       51.    Lively then delivered an ultimatum: if Baldoni could not get on board with her work

methods, he had two weeks to recast her.

       52.    Implicit in this ultimatum was a threat to destroy Baldoni’s reputation and career.

As Lively well knew, Baldoni has worked hard throughout his career to earn and deserve a

reputation based on his passionate advocacy for women’s rights––a reputation she would later

exploit and weaponize against him. If Lively were to back out of the Film, especially based on

accusations of fat-shaming, Baldoni’s reputation and life’s work would be left in tatters. He had

no choice but to bow to Lively and Reynolds’ demands. Concerns about Lively’s undue influence

over the Film began to grow even before filming started.




       53.    This was the first time Lively openly moved to seize control of the Film from

Baldoni—but it would not be the last.




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       D.     Filming Begins as Lively Builds Her Takeover Strategy

       54.    Principal photography began for the Film in early May 2023. On set, Lively

continued to maintain what later appeared to be a façade of a close, caring relationship with

Baldoni, even as she continued to make escalating demands for creative control.

       55.    By the time production began, Lively and Baldoni had worked closely together for

months, and Lively expressed warm gratitude for her collaboration with Baldoni on the eve of

filming:




       56.    Throughout the first filming period, Lively continued to share her open and

unguarded thoughts on life and her character. She talked about wardrobe choices to make her

character “much sexier.”




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         57.      Lively continued to express her warm appreciation and respect for Baldoni as

filming continued, even as she acknowledged she could be difficult and critical of others, using

the kind of language she herself would have alleged to be inappropriate: 8




8
  Lively’s use of the word “ballbuster” would certainly have made it on her 17-point list had it been Baldoni who said
it.


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           58.      Lively’s intimate comfort with Baldoni continued as filming progressed. In June of

2023, after the alleged harassment and “uncomfortable” situations allegedly occurred, she even

invited Baldoni to her trailer to rehearse while pumping breast milk:




           59.      Lively was so close and comfortable with Baldoni that she freely breast-fed in front

of him during meetings. She took photos of him holding and soothing her crying baby 9 in her

penthouse. They laughed deliriously during late-night writing sessions. All of these events took

place after the alleged sexual harassment. Lively’s accusations seemed to come out of the blue.

           60.      She even knew his tea order:




9
    Out of respect for Lively’s privacy, this Complaint does not include any images of her family.


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           61.      Lively herself set the tone for personal discussions on set, including what language

was acceptable. For example, on one occasion while filming a restaurant scene, Lively sat on the

floor in painfully expensive shoes while discussing with a group of male cast and crew how “sexy”

her shoes were. 10 Lively had no issue using the word “sexy” herself, but apparently took note both

times Baldoni said the word in her presence.


10
     This is evidenced in film footage captured between scene takes.


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       62.     Though she was loose and relaxed in her speech on set, she was increasingly

stringent in the demands she imposed on the production. She rewrote her own dialogue constantly,

and took it upon herself to make unilateral changes to other characters’ lines, effectively rewriting

the script day by day. This pattern of domineering interference caused unending interruptions to

the production process, leading to entirely unnecessary stress, chaos, and delays. It is well

documented on film footage how frequently she requested changes, and how, at every turn,

Baldoni took her thoughts and, out of fear of repercussions from Lively and her allies, he

consistently tried to accommodate them.

       E.      During Labor Strikes, Lively Moves to Seize Absolute Power

       63.     On May 2, 2023, the Writers Guild of America (“WGA”) went on strike.

       64.     Production on the Film halted temporarily on June 14, 2023 due to WGA picketing;

the next day, the production was notified that the WGA had agreed not to picket their set, allowing

production to continue. But Lively was already gone and refused to return to the production

immediately. Wayfarer reworked the shooting schedule at great expense to film the scenes with

the younger versions of the characters instead of footage requiring Lively. On June 27, 2023,

production shut down entirely for the pendency of the strike.

       65.     The SAG-AFTRA strike soon followed, beginning on July 14, 2023.

       66.     To make the most of time during the strike, Baldoni began editing the footage that

had been captured to date, starting the director’s process of turning footage into film.

       67.     Lively expressed excitement over returning to shoot in the fall in New York,

making no mention of any discomfort or harassment that would be brought up only later, after

months of being apart, on the day the strikes ended.




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        68.      Both before and during the Strikes, Lively’s eager involvement in the production

took on a more insistent and manipulative tone, as she asked for access to the “dailies” 11 and early

cuts of scenes – both inappropriate and unorthodox requests.




11
  “Dailies” refers to raw footage of what was filmed that day, including the many “takes.” This is not shared with
cast.


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       69.     Wayfarer, Baldoni, and another producer on the Film strategized about how to

respond to Lively (which became common practice, so as not to trigger backlash from Lively).

The text exchange below demonstrates adamant objections to giving Lively the dailies. Not only

was it an inappropriate overreach, but there was a very real concern that a simple ask (such as

rewriting a couple of scenes) would turn into a complete takeover (i.e. rewriting the script). They

rightly feared that giving her the dailies could turn into her demanding to edit the whole movie

(which is exactly what ultimately happened):




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       70.     After consulting internally as to how to respond, Baldoni politely pushed back,

explaining that it was much too early in the editing process to share much footage.




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       71.     At that point, Lively reluctantly paid nominal lip service to the notion that Baldoni,

the Film’s director, was entitled to the time and space needed for his directorial cut but continued

to push:




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       72.     Baldoni shared limited scenes with Lively, feeling uncomfortable all the while, yet

he already knew that he had to bow to Lively’s demands in order to get out the Film and its

powerful message. Finally, he put his foot down, sending Lively one final scene and then telling

her he would not be sending any more cuts until he was finished his editorial process.




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       73.     The WGA strike ended on September 27, 2023, and the SAG-AFTRA strike ended

on November 9, 2023. Months before, Baldoni had made Lively’s representative aware that they

would continue pre-production in order to “hit the ground running” when the strikes ended.

       74.     But Lively and her lawyers had been busy devising other plans during the strike.

       75.     The same day that the SAG-AFTRA strike ended, Baldoni, the studios, and

producers were eager to resume production. Instead, they were met with an email from Lively’s

lawyer, who sent Wayfarer an unsettling and unexpected 17-point list of non-negotiable conditions

that must be met before Lively would return to work. The stunning list was drafted for the apparent

purpose of insinuating or outright claiming that Baldoni, Heath, and others had engaged in sexually

inappropriate conduct during filming. Nothing could be further from the truth.




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       76.     Both Wayfarer and Sony attempted to revise the document to make it factually

accurate (being that their representation of set culture was inaccurate) and sent comments through

Wayfarer’s attorney (who incorporated Sony’s notes). But Lively’s counsel’s response made it

clear that the list was not open for negotiation.




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       77.     It was clear that Wayfarer would have to sign the document as-is, despite the falsity

of its insinuations. The alternative was to lose millions of dollars, cost hundreds of people their

jobs after they had been out of work for months, and destroy their relationship with Sony.

Nonetheless, the demands themselves were agreeable; indeed, some were already in place.

       78.     To illustrate the distorted and downright fictional bases for the 17-point list of

demands, each of them is addressed in turn below.

               a.     Point 1: Intimacy Coordinator

       79.     Lively demanded that an intimacy coordinator be present at all times when Lively

was on set. In fact, an intimacy coordinator had already been engaged during the first half of the

production, so Wayfarer took no issue with this request itself, despite both Lively (and her

attorney) knowingly insinuating there was not one. On or about March 20, 2023, nearly 2 months

before filming began, Baldoni met with the intimacy coordinator and in early April of 2023, more




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than 6 weeks before production commenced, she was engaged. Lively was aware, as Baldoni had

informed her in writing, on or about April 6, 2023. Lively’s attorney was also aware, as

documented in May 8, 2023 emails between her and Wayfarer’s attorney within which Wayfarer

provides her the intimacy coordinator-approved Nudity Rider, followed by written confirmation

of said approval.




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       80.     Although the presence of an intimacy coordinator is not a Screen Actors Guild rule

but rather a recommendation, Baldoni was eager to engage one from the start to ensure talent,

himself included, felt safe during intimate scenes. It was also important to him that the intimacy

coordinator be a woman, to help craft sex scenes that would speak to the mostly-female audience



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of the book, i.e. be written from the “female gaze” – a fact Lively later mocked in both her

Complaint and her CRD Complaint. 12

        81.      Given both Lively and Reynolds’ first-hand knowledge of these facts, Lively’s

insistence in her November 9, 2023 “Return to Production Demands” on the constant presence of

an intimacy coordinator was baffling; however, because Wayfarer had already engaged an

intimacy coordinator and had no issue with the request, and given the request came with the threat

that Lively would not come back to work after months of filming and planning, Wayfarer

acquiesced. This acquiescence, given with the written caveat that Wayfarer disagreed with the

characterizations, was later used by Lively to falsely suggest an acknowledgement that there had

not been an intimacy coordinator at all.

                 b.      Point 2: Limiting Review of Intimate Scene Footage to Those with

                         Essential Business Reasons

        82.      Given that this was already standard practice in the film industry and in practice on

the Film’s set, Wayfarer readily agreed to this demand, though without any reason to believe that

the demand was made in response to any inappropriate conduct. Despite having filmed for over a

month and despite having been provided a Nudity Rider and the opportunity to negotiate, finalize,

and sign, Lively had never asked for a “closed set”. However, Production had always adhered to

this and had no problem agreeing to this demand. For clarity, no intimacy scenes were even shot

prior to the Nov. 9, 2023 Return to Production Demands; therefore, under no circumstance did

Lively shoot intimate scenes “without a nudity rider”, as suggested in her Complaint, and

production did not violate any SAG-AFTRA rules. The one simulated nude scene filmed prior to

the strike break and the Nov. 9, 2023 Return to Production Demands was a scene that Lively wrote,


12
 Lively v. Wayfarer Studios LLC et al., Case No. 1:24-cv-10049 (S.D.N.Y. Dec. 31, 2024) (Dkt. No. 1, ¶ 50); CRD
Complaint, ¶ 34.


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knew of in advance, and directed the action for, and she never requested a nudity rider or intimacy

coordinator for that scene.

         83.      This demand, as written, suggests nude or intimate scenes were filmed with non-

essential personnel present. Later in her complaint, Lively alleges that during a scene (the

“Birthing Scene”) she was “mostly nude with her legs spread wide in stirrups and only a small

piece of fabric covering her genitalia,” and that there were “non-essential persons” present. 13 This

allegation is knowingly false. To begin with, to describe Lively as “mostly nude” and “naked from

below the chest down” is dishonest. 14 Lively was wearing black briefs and a pregnancy suit that

covered her midsection, and her top was covered by a hospital gown. Her legal complaint 15

deliberately suggests she was wearing “a small piece of nude fabric glued around [her] genitalia”

by stating this is “generally” what female actors use to “provide some minimal privacy without

disturbing the shot…”, leaving the reader to believe Lively was only wearing this small fabric.

Lively was aware of this birthing scene as she was heavily involved in writing (rather, rewriting)

the script and gave creative input for this specific scene (even against the director’s creative

vision).

         84.      Moreover, film footage clearly demonstrates that the set was not chaotic, as she

alleges, and only “essential” individuals (e.g. film crew, talent) were present for the scene and

doing their jobs. Importantly, Lively knowingly and falsely alleges that the Film’s financier was

present during these scenes, and insinuates he was watching her nude (which he had no desire to

do). He was not even on set during the filming of that scene. He arrived later, merely stopping by

for a brief moment amid his busy business schedule, and was present during the filming of a scene


13
   Lively v. Wayfarer Studios LLC et al., Case No. 1:24-cv-10049 (S.D.N.Y. Dec. 31, 2024) (Dkt. No. 1, ¶ 52).
14
   If Lively is referring to her character being “mostly nude” (i.e. her pregnancy suit was exposed), her statement is
misleading, and still false. The only nude body part exposed were her legs.
15
   Lively v. Wayfarer Studios LLC et al., Case No. 1:24-cv-10049 (S.D.N.Y. Dec. 31, 2024) (Dkt. No. 1, ¶ 51, fn. 8).


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in which Lively’s character spoke with a female OB-GYN doctor – a scene in which she was fully

clothed.

               c.      Point 3: No Spontaneous Improvisation of Scenes Involving Physical

                       Touching, Simulated Sex, or Nudity, Which Must Be Choreographed

                       With Intimacy Coordinator

       85.     Contrary to Lively’s knowingly false claims, it was Lively who refused to meet

with the intimacy coordinator to plan out their scenes, putting Baldoni in the awkward position of

meeting alone with the intimacy coordinator and later relaying sex scene suggestions and plans to

Lively in the intimacy coordinator’s absence. These meetings often took place, at Lively’s

insistence, in the couple’s home, and often while Lively’s husband was present. Lively’s method

of work was unconventional and uncomfortable for Baldoni. To suggest Baldoni was the one who

created this scenario is knowingly false.




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       86.     As a result, many sex scenes were not written with simultaneous collaboration and

input from both Lively and the intimacy coordinator, as Baldoni had long intended (the “female

gaze” that Lively distorted in her CRD Complaint and, on information and belief, circulated to the

New York Times for its publication weeks before filing her complaint with the Court). In the end,

Lively rejected all of the intimacy coordinator’s proposals to rewrite the scenes herself.

       87.     Most egregiously, Lively later used these circumstances, created entirely by her, to

accuse Baldoni of insisting Lively do “uncomfortable” or “gratuitous” scenes – scenes that were

in fact proposed by the intimacy coordinator and by all accounts very typical asks of any actor

performing simulated sex scenes. This is well-documented in handwritten notes Baldoni took

during meetings with the intimacy coordinator and later read to Lively. Lively, in her recent

allegations, mispresented these ideas as personal, despite the fact that they were workshopping

scenes for their characters. Lively’s inability to discern the basic premise of the divide between

collaborating on a film and personal interactions with her co-star and director is woven throughout

her claims of sexual harassment.

       88.     In support of what Lively positioned as the impetus for these demands, she alleges

Baldoni personally added “graphic content, including a scene in which Ms. Lively was to orgasm

on camera.” This is false. During a creative meeting, which Lively requested to take place in her

home, Baldoni read to her his notes from the intimacy coordinator, including a suggestion that

Lively’s character orgasm during the scene, similar to the book. Lively remarked, “oh no, I’m too

old for that” and Baldoni offered another suggestion instead, also from his notes from the meeting

with the intimacy coordinator. Baldoni then moved on.




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       89.     Lively’s later complaint sheds light on what this point was alluding to in this

demand, which at the time was baffling, and upon review of the filmed evidence, is unequivocally

based on a lie. Production was filming a “romance montage” of Lily and Ryle on their date. One

of the producers played music to set the mood so the characters could slow dance. Lively,

consistently unable to take direction, insisted she really liked the idea of the characters constantly

talking, because, as she described, she and her husband like to “keep talking and talking and

talking.” Baldoni, her director, and the film’s assistant director (who was directing the scene)

disagreed. In an attempt to encourage her to take his direction Baldoni offered up that he and his

wife often just look into each other’s eyes silently, to which she responded, “Like sociopaths,” and

laughed. Baldoni laughed and shook it off, while Lively once again started talking about how she

and her husband can’t not talk. Baldoni said, “I think that’s cute,” and complimented the couple,

to which Lively responded, “I think it’s more than cute.”

       90.      Lively continued arguing and tried to direct him for the scene. while they were

supposed to be in character filming the scene. At some point Heath and another producer, irritated,

called Baldoni aside to express they can’t capture the intended “shot” because Lively wouldn’t

stop talking. He was instructed to somehow get her to stop. While there was a brief verbal

exchange, Baldoni, heeding the instruction of their Assistant Director and producers, continued to

try to bring them back into character. As they were acting in this montage scene, Lively continued

to break character and speak as herself rather than as Lily, which was extremely confusing for

Baldoni, who was trying to balance directing the scene within his artistic vision while also acting

in character while filming and trying to get Lively to do the same. Lively apologized for the smell

of her spray tan and body makeup. Baldoni responded, “It smells good,” and continued acting,

slow dancing as he believed his character would with his partner, which requires some amount of




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physical touching. Lively took them out of character again and began to joke about Baldoni’s nose,

which he laughed off and joked in turn, even as Lively joked that he should get plastic surgery. 16

Lively incorrectly alleges that this scene was filmed without sound. Baldoni was wearing a

microphone, and the entire exchange is captured on camera. Any suggestion that this scene was

filmed in any manner other than pure professionalism by Baldoni is unequivocally countered with

actual evidence. Her allegation of sexual harassment is a documented and knowingly fabricated

lie.

           91.      Moreover, it was Lively who engaged in unchoreographed kissing scenes. One

scene, again captured on camera, exhibits Lively pulling Baldoni in to kiss her. It is clear Lively

was initiating unchoreographed kissing: In one take, she pulled Baldoni in and kissed him once;

in another twice, and the number of kisses, entirely initiated by Lively, changed at her whim.

Baldoni, as a professional actor who, among other roles, played the lead’s love interest in

television’s Jane the Virgin for 5 years (100 episodes), is, like most actors, accustomed to

rehearsing or filming scenes multiple times – often with variations - without needing “permission”

while in character. While Lively now takes issue with any innocuous improvisation Baldoni, as

Ryle, may have allegedly initiated while in character, Baldoni treated their relationship on camera

as professional; each playing their part, each doing their job. If no one was supposed to improvise,

Baldoni would have no way of knowing based on Lively’s own actions. Lively demonstrated,

again and again, that this was a normal and acceptable part of filming romantic scenes.

           92.      Lively also complains that there was inappropriate and improvised kissing during

the first period of filming, before the strike break. But in fact, the only two kissing scenes filmed




16
     Lively alleges Baldoni inappropriately commented on her physical appearance. It was the other way around.


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during the initial filming period were both scenes that included kisses as written in the script. These

kissing scenes were not improvised.

                   d.       Point 4: No Physical Touching of Lively (Including Hugging) or

                            Comments on Her Physical Appearance Except in Connection with the

                            Character and/or Scene Work, Not as to Lively Personally

           93.     To be clear, none of the named parties touched Lively when not in character,

especially not in the manner suggested.

           94.     While Baldoni and Wayfarer clearly agreed that coworkers should respect physical

space, Lively’s constant confusion of references to her character as played by Lively, as opposed

to Lively herself, became problematic and interfered with production. This was caused in large

part by Lively’s persistent desire to direct and inability to accept direction. For example, her

allegation that Baldoni inappropriately called her “sexy” was in fact a reference to a scene where

everyone was wearing “onesies”, but Lively was covering her onesie with a big coat. Baldoni, her

director, asked that she take off the big coat so that her “onesie” would be visible in the scene. 17

Baldoni said, “it will be hot” as it was 90 degrees in the small bar with no air conditioning. Lively

mischaracterizes this in her Complaint as Baldoni referring to her (personally) as “hot” (using the

slang meaning of the term). Given that Lively herself had earlier expressed to him that she wanted

her character’s wardrobe to be “sexier,” Baldoni encouraged her to accept direction by saying “it’s

sexy,” meaning that without the big coat the wardrobe was “sexier” as Lively had said she wanted

it to be. Lively took this personally. She was unable to take the direction (later alleging his behavior

was inappropriate) regarding her self-chosen wardrobe, stating, “that’s not what I’m going for.”

Baldoni, recognizing that she may have taken his direction personally and appeared offended,



17
     This is documented on-camera while filming.


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apologized more than once. His statements were immediately followed by his gesture that she had

something in her teeth, and a request for someone on set to get her a toothpick. This exchange, all

of which is captured on camera, demonstrates how ludicrous and deliberately malicious Lively’s

allegations are.

       95.     While on the one hand Lively accuses Baldoni of making comments about her

appearance, on the other she made derogatory comments about Baldoni’s appearance, telling him

he should undergo rhinoplasty (a nose job) – something Baldoni has publicly expressed insecurities

about and has discussed on an episode of his podcast, Man Enough, exploring the topic of body

dysmorphia. Lively’s comment about Baldoni’s nose is also captured on camera. Baldoni, rather

than write down a list of grievances against Lively, brushed it off and moved on with the scene.

       96.     Baldoni’s sincere dedication to what he has repeatedly described as holding himself

accountable as a man was being used against him, just as Lively is attempting to do now. To

characterize his sensitivity to her personal reaction to his creative direction, which was not only

innocuous but well intended, is malicious. To then share this knowingly false characterization with

the New York Times for publication months before filing any formal complaint, then waiting nearly

two weeks to file the complaint with this Court (thus depriving him the opportunity to engage in

discovery before the damage is done), is inexcusable.

       97.     Despite the flawed factual premise underlying Lively’s demand, in the face of

Lively refusal to return to work, Wayfarer agreed to this condition.

               e.     Point 5: No Discussion of Personal Experiences with Sex or Nudity,

                      Including as it Relates to Conduct with Spouses or Others

       98.     When Baldoni was faced with this demand, he was utterly confused. By the time

Lively and Baldoni were developing their intimate scenes together, they had developed a friendly




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relationship and were communicating often over text message. Lively felt comfortable expressing

herself and appeared to do so freely. She took photos of Baldoni holding and comforting her

newborn in her home. Baldoni filmed her uncontrollably laughing with him as they rehearsed late

into the evening, often delirious with exhaustion. Nothing about their interactions suggested Lively

was uncomfortable around Baldoni. Though confused by this demand, and denied the opportunity

to revise the Return to Production Demands to make them factually accurate and less misleading,

Wayfarer had no choice but to sign the document and did so, knowing no such instances had

occurred.

       99.     Later, Lively references in her Complaint instances that were shockingly

mischaracterized and in no way inappropriate or unprofessional.

       100.    For example, in response to a proposal from the intimacy coordinator that Baldoni’s

character Ryle not orgasm after he satisfied Lily, Lively remarked, “I’d be mortified if that

happened to me,” personalizing the characters’ sexual act. Baldoni, following Lively’s lead in what

he understood to be an attempt to connect with and develop their characters, remarked that “those

have been some of the most beautiful moments” between himself and his wife. They then moved

on. In another instance, as Lively and Baldoni were developing their scenes, Lively said, “I don’t

want it to look like porn” and then offered up that she had never seen porn in her life (a very

personal fact). Baldoni complimented her and said “that’s wonderful” because unfortunately he

was first exposed to it when he was ten years old, and struggled with a porn addiction for a period

of his life; he writes openly about this in both his books Boys Will Be Human (written for young

boys) and Man Enough (written for men), addressing pornography as a societal problem. Anyone

who knows or has done any research on Baldoni would have knowledge of this, and it can in no

way be characterized as inappropriate, especially after opening the door to the discussion by




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disclosing something highly personal. At every turn, Baldoni was entrapped. Moreover, Heath,

who had nothing to do with this exchange and has never had a porn addiction or even mentioned

porn in Lively’s presence, was falsely and knowingly lumped into this accusation.

       101.    Lively continued with an outrageous and knowingly false suggestion that she was

shown pornography or naked images of Heath’s wife on set. This allegation knowingly and

maliciously misrepresents an instance when in connection with the birthing scene, Heath, at the

director’s request, attempted to show Lively a video that demonstrated the director’s vision for

the scene. This video, which ultimately was not shown to Lively (even though she stated she’d like

to see it later, as she was eating) is by all accounts beautiful. Since Lively wanted to see it later,

what she saw was the first image at the start of the video, which shows Heath’s wife, himself, and

their baby after his wife gave birth at home (a “natural birth” or “home birth”). To characterize

this image that captures such a beautiful moment with their newborn baby, shared with the consent

of his wife for purposes of the Film, as a naked photo, or worse, “porn,” is deplorable . Nonetheless,

Lively did not object and asked to see the video after she ate, having managed to “convince” the

director to write and shoot the scene according to her specifications.

       102.    These brief exchanges were distorted beyond recognition in the 17-point list of

“Return to Production Demands” that Lively served on Wayfarer.

       103.    Still, without conceding that anything remotely inappropriate had happened,

Wayfarer agreed to this condition so that they could resume production.

               f.      Point 6: No One to Enter Lively’s Trailer While She Was Undressed

       104.    The suggestion that this ever happened is illogical and categorically false. No one

would or did enter Lively’s trailer without knocking first and asking permission. More than once,

Lively invited Baldoni, Heath, and other producers into her trailer so that she could multi-task,




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understandably balancing motherhood with her work obligations. Regrettably, while

accommodating Lively, Baldoni and Heath were led into situations that would later be

characterized as harassment. Lively herself invited Baldoni to her trailer to “work on lines” while

she pumped breast milk. Lively regularly breast-fed in front of Baldoni while they had meetings.

Heath was invited into her trailer for a meeting at her request while she was having makeup

removed from her collarbone because she was not able to meet at another time. Her nanny, makeup

artist, and assistant were present, and Lively was not topless, as she claims elsewhere, but was

fully covered while either nursing or pumping breast milk. In this instance, he was instructed to

turn away while they spoke and respectfully did so, while they figured out a time to meet with the

other producers standing just outside the door and as Heath pleaded with Lively to have the

meeting the next morning to avoid her getting home late and losing shoot time the following day.

While it is possible he inadvertently made eye contact at one point, he does not recall. Lively later

mentioned he did, and it made her uncomfortable, to which he responded, “I’m so sorry, I really

didn’t realize.” Lively responded, “I know you weren’t trying to cop a look,” and they moved on.

       105.    Lively’s suggestion that not one, but two professional and conscientious men

barged into her trailer several times, or attempted to enter or pressured her to allow them to enter,

offends not only their long-established integrity, but the sanctity of their vows to their wives and

their dedication to their children and families. Lively is aware that both men are incredibly

supportive and respectful of motherhood, to say the least. Heath’s wife is a vocal advocate for

postpartum mothers. Baldoni’s wife co-founded a company that designed a breast-feeding

garment, a prototype that originated with his mother when he was an infant. Baldoni had gifted

Lively one. While those facts would never be an excuse for barging in unannounced, it is indicative




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of the nature of their relationship with and respect for women. Simply put, such allegations are

categorically false claims that would have been wildly out of character if they were true.

                  g.       Point 7: No Filming Nude or Sex Scenes Except Per Nudity Rider, and

                           No Use of Prior Nude Scenes Without Nudity Rider

         106.     Lively was provided a Nudity Rider, approved by the SAG Intimacy Coordinator,

and was given ample opportunity to provide notes before production commenced. Despite constant

pursuit over several months, Lively’s attorney never produced notes, and Lively not only didn’t

sign the Nudity Rider during the first phase of production but never even signed her employment

agreement. Her main concern while Wayfarer’s lawyers were all but begging for signatures was

ensuring her fee was deposited into escrow. In order to move forward, they had to pay her fee even

though she hadn’t signed her agreements.

         107.     The Screen Actors Guild (“SAG-AFTRA”) states that producers must provide

actors at least 48 hours’ notice before call time to review and negotiate a nudity rider. A Nudity

Rider approved by the SAG-AFTRA intimacy coordinator working on the production was

provided to Lively’s counsel on May 8, 2023. Wayfarer’s attorney communicated that they would

like it signed by May 11, 2023 and requested they send any notes they may have. On May 12,

2023, Lively’s attorney finally responded that they were reviewing the Nudity Rider and would

come back with notes. Their focus then shifted to ensuring Lively’s fee was deposited in escrow,

and they became fixated on that, despite Wayfarer’s repeated requests for Lively to sign the

customary Certificate of Engagement 18 first. Ultimately, despite constant pursuit, it became clear

that Lively had no intention of signing the Nudity Rider or her contract at that time.



18
  When working with an actor who may take time to sign the main actor agreement, it is customary to send a
certificate of engagement to protect the copyright of the film. Wayfarer negotiated the terms of said certificate of
engagement but, though it was approved by Lively’s counsel, never received a signed copy.


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       108.    Months later, the demand for a Nudity Rider became a part of the 17 demands, and

presented as if it were Wayfarer, and not Lively, who was the cause of its absence. The demand

also stated that “any footage previously shot without the Nudity Rider in place” may not be used

without Lively and her legal representatives’ consent, despite the fact that no simulated sex had

been filmed yet. In fact, only one scene involving simulated nudity had even been filmed, and it

was a scene that Lively knew of well in advance, given that she wrote it herself, knew when it

would be filmed, and directed the action herself, never requesting a nudity rider or an intimacy

coordinator.

               h.     Point 8: Lively Entitled to Personal Representative on Set

       109.    Wayfarer had no objection to allowing Lively a personal representative on set.

               i.     Point 9: Notice of COVID-19 Exposure

       110.    On April 26, 2023, weeks before principal photography of the film commenced,

Wayfarer sent crew a “Covid-19 Protocol Update” informing them that the AMPTP Return to

Work Agreement expires on May 12, 2023, and as such, there would be no preemployment testing

and no mask requirements after May 12, 2023.



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       111.    Although the AMPTP Return to Work Agreement that established Covid protocols

expired prior to the start of principal photography and no testing or masking was required,

Wayfarer agreed to inform Lively if production became aware that she was exposed to Covid.

               j.      Point 10: No Retaliation for Requests

       112.    While Wayfarer in no way conceded that Lively’s demands amounted to a report

of genuine sexual misconduct, Wayfarer had no interest in retaliating against Lively for making

these demands. Their only desire was to make a great movie. In the interest of maintaining a

professional and productive atmosphere on set, they agreed to meet all of her demands, including

a broadly defined statement that they would not retaliate in any manner (including “sarcasm”).

Wayfarer agreed, though later it became clear that Lively would consider any future effort to push

back against her demands with respect to the production as unacceptable “retaliation.” On

information and belief, this demand was included to safeguard Lively not from retaliation, but to

secure her place as “leader” of the Film with the threat of claims of retaliation if Wayfarer or

Baldoni pushed back.

               k.      Point 11: Mutually Agreed Sony Representative Required on Set

       113.    Wayfarer agreed to the concept of having a Sony representative on set whenever

Lively was on set, though it gently pushed back on the idea that it always be Ange Giannetti, who

might occasionally have other pressing work obligations. Overall, however, Wayfarer agreed.

               l.      Point 12: Additional, Lively-Approved Producer to Be Hired to

                       Supervise Filming

       114.    Wayfarer pointed out that the additional expense and the contractual implications

of hiring an additional producer would have detrimental effects on the production. In the end,

Wayfarer agreed, as it would cost production more if Lively refused to return to work.




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       115.    Todd Black, suggested by Sony and approved by Lively, was ultimately brought on

as an additional producer.

               m.     Point 13: Existing Third-Party Producers Empowered to Actively

                      Supervise the Production

       116.    While disagreeing with the suggestion that any producer did not have “appropriate

and customary authority to actively supervise the production” in their capacity as producer,

Wayfarer agreed to this term; any third-party producer was already empowered to do so.

               n.     Point 14: Wayfarer to Use Lively-Approved Body and Stunt Doubles

                      for Intimate and Sexual Violence Scenes

       117.    Despite not requesting this at the contract negotiation phase, Lively’s pre-approved

stunt and body doubles were fully acceptable to Wayfarer and so they agreed, despite the fact that

was an additional and unplanned expense to the Film. Ultimately, no body doubles were used in

the Film, at Lively’s request. Lively and Baldoni displayed a courteous and professional

relationship throughout phase two of production.

               o.     Point 15: No Filming Nude or Sex Scenes of Any Actor’s Portrayal of

                      Lily Except Per Nudity Rider, and No Use of Prior Nude Scenes

                      Without Nudity Rider

       118.    This was an overstep: an attempt to expand Lively’s right to her own Nudity Rider

to assert control of the Nudity Rider for another actor (the actor who portrayed young “Lily”).

While seeing this as infringing on the young actor’s independent right to her own Nudity Rider,

Wayfarer, once again, was forced to agree, while informing Lively that “Young Lily” had already

filmed her intimate scenes pursuant to her own Nudity Rider.




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               p.      Point 16: All Day Players Must Be Hired Through Talent Agencies, Not

                       Personal Connections

       119.    This point appeared to relate to Lively’s misleading claim that Baldoni

inappropriately cast a personal friend to play the obstetrician during Lily’s birth scene. Baldoni

casting an experienced actor who happens to be a friend is no different than casting Lively’s sister,

who was cast because she is Lively’s sister. The actor portraying the obstetrician is an award-

winning Shakespearean-trained actor with an MFA in Acting from UCLA, and in addition to

appearing on numerous hit television shows, has toured nationally with a Tony Award-winning

acting company and attended Oxford’s acting program on full scholarship. His accolades and

performances speak for themselves. Lively’s current complaint states she was “alarmed” when

Baldoni introduced him as his friend, and allowed him to play this “intimate role, in which the

actor’s face and hands were in close proximity to her nearly nude genitalia” [emphasis added],

categorizing the experience as invasive and humiliating. It is Lively’s suggestion that a highly

trained and experienced actor would have an unseemly interest in being in “close proximity to her

nearly nude genitalia” (which, as previously established, was not nude or exposed), that is

inappropriate, invasive, and humiliating to the actor.

       120.    To reiterate, Lively knowingly made a false statement that “only a small piece of

fabric cover[ed] her genitalia” during the birth scene. In fact, Lively was wearing briefs during the

scene and was covered by a hospital gown, and was wearing a pregnancy suit covering her

midsection; this was not in any way a nude or partially nude scene.

       121.    Once again, Wayfarer agreed despite being wholly offended by this accusation.




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               q.     Point 17: All-Hands Meeting Before Production Resumes

       122.    Wayfarer understood this request to be a sincere offer to meet and discuss the needs

and preferences of Lively and other cast members to ensure comfort and security while filming a

movie that dealt with difficult themes. In that spirit, Wayfarer readily agreed, believing that an

opportunity to discuss concerns openly and to plan resuming production would be welcome. As

will be established, Wayfarer’s good faith belief could not have been farther from the truth behind

this demand. Lively (with the support of her husband) used this demand to justify an ambush of

Baldoni and Heath on the eve of the first day of filming in phase two of production.

       123.    Importantly, Sony (who also had a representative on set) found the 17 requests

confusing as well:




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       124.    Before returning to production, Lively had even more script notes and changes

beyond what was already performed during phase one of production. In the face of these terrifying

and false accusations couched as demands, as well as Lively’s threat that she would not return to

production, Baldoni realized he needed to cede control of the script to Lively as she wished. His

Film would be taken from him by threats and coercion, and there was nothing to be done about it.

In an email to his team containing the notes on his revised script, he expressed his sadness and

frustration over Lively’s takeover of a film that they spent years developing, writing, and funding.

Having no energy left to fight, he sadly declared he “[wa]s waiving the white flag and submitting”

and would give Lively “98% of what she wants.” He also expressed serious concern over how to

handle the intimacy scenes, given the accusations inherent in Lively’s Return to Production

Demands. Baldoni asked his producing partners to guide him, as he was rightfully afraid of the

“risk [that] something innocuous or not to [Lively’s] standards would very likely be used against

[him] (as it already had)”, continuing that “creativity is impossible in an environment shrouded by

fear. By now we all know what she is capable of.” Baldoni’s fear of Lively’s retaliation was

palpable, but he was determined to “get the film to the finish line,” for everyone involved.




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       125.   A producer thanked Baldoni for his “thoughtful breakdown, . . . especially

considering the circumstances”:




       126.   As producers continued to request the final shooting script (as they were just 4 days

before commencement of filming), Baldoni worked hard with very limited time to rework the

script and direction to meet Lively’s demands, recognizing that they “[would] be in a negotiation




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for what the final script looks like”; Lively’s demands continued to cause additional work, and

stress for the production team:




        127.    Meanwhile, on the day before commencement of the second phase of filming,

Lively casually reached out to Baldoni, together with Heath and the Film’s producers, to meet in

her home. Lively’s Return to Production Demands required a meeting before filming resumed. On

the day before filming Baldoni, Heath, a Sony representative, the Film’s first assistant director,

and two producers arrived with production binders in tow, excited to discuss details of resuming

production. But Lively and her husband had a very different meeting in mind.

        128.    Lively brought Reynolds as her chosen “representative”—notably, she did not

request any attendees from her union, the Screen Actors Guild. Together, Reynolds and Lively

blindsided the rest of the group with a list of grievances, read aloud by Lively, that were as

troubling as they were fictional. Reynolds then launched into an aggressive tirade, berating Baldoni

in what Baldoni later described as a “traumatic” encounter. As Baldoni later said, he had never

been spoken to like that in his life.

        129.    Reynolds demanded that Baldoni apologize to Lively for actions that had either

never happened or had been grossly mischaracterized. Baldoni resisted apologizing for things he

had not done, further enraging Reynolds. Everyone, including the producer Lively had asked the

production to engage and the Sony representative, left the “meeting” in shock. The producer said

that in his 40-year career, he had never seen anyone speak to someone like that in a meeting. The

Sony representative said later that she often thought of the meeting and her one regret was not

intervening to stop Reynolds’ tirade against Baldoni.



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       130.    Baldoni and Heath left the meeting deeply unsettled by Lively and Reynolds’

behavior and the power dynamics at play. It was clear to them that this was the latest escalation in

Lively’s concerted campaign of extortion to extract concessions and creative control over the Film,

a campaign now apparently joined by Reynolds. Nonetheless, faced with persevering in the face

of extortionate threats versus shutting down a film halfway through production (with all the

attendant financial and reputational implications), Wayfarer had virtually no choice but to resume

production and finish the Film despite the newfound certainty that Lively was intentionally

manipulating, distorting, and inventing “facts” to use as a cudgel against Wayfarer. The stakes

could hardly have been higher for Wayfarer: Financiers had invested substantial resources,

hundreds of cast and crew members had endured months without work due to the strikes, and years

of development had gone into bringing the Film to life. Moreover, Baldoni and Heath shared a

conviction that “It Ends With Us” could still provide a powerful opportunity to center the voices

and stories of domestic abuse survivors.

       131.    It is crucial to note that the list of “grievances” read at the January 4, 2024 ambush

were new, separate and apart from the 17-point Return to Production Demands, and were never

presented to any of the parties present. Though Lively’s CRD Complaint misleadingly suggests

the parties agreed to a list of 30 items, many of the items listed on the CRD Complaint were new,

entirely based in lies, and neither read nor provided to any of the parties, let alone agreed to. The

only document presented to the parties was the 17-point Return to Production Demands presented

on November 9, 2023, and signed over 2 weeks after this “meeting,” on January 19, 2024. Lively’s

CRD Complaint, which on information and belief she disseminated to the New York Times well in

advance of any legal filing, is riddled with blatant and deliberate misrepresentations, as is her

Complaint here.




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           132.    As Lively admits, filming resumed the following day and then concluded without

any further grievances or references to previous disputes by Lively:

           “[T]he parties agreed to implement and follow the Protections for Return to
           Production to ensure that the Film could be completed, marketed, and released
           safely and successfully. And it was. Production of the Film resumed on January 5,
           and concluded on February 9, 2024. The Film has been a resounding success. 19”

           133.    Now that Lively had unleashed Reynolds on Baldoni and Wayfarer, they felt

powerless to oppose the couple. Just as Lively had warned in April 2023, nine months before,

Reynolds would ensure that Lively’s demands were met at every turn. From then on, Lively would

get her way—or else. Unmistakably, Lively would use her carefully constructed paper trail to

destroy Wayfarer, Heath, Baldoni—and the Film.

           F.      Lively Completes Her Usurpation of the Film

           134.    The Directors’ Guild of America (“DGA”) requires a ten-week editing period for

directors to privately edit and assemble their director’s cut. This period is sacrosanct as it gives the

director uninterrupted time to creatively shape the final product—a time to experiment, take risks,

and refine until the Film fully reflects their artistic vision. For Baldoni, this period is the peak

experience of the filmmaking process: a time to immerse himself in the creative craft, free from

external influences. But Lively denied Baldoni this experience on this powerful and deeply felt

film.

           135.    Lively requested, through producer Todd Black, to join Baldoni in the editing bay.

As a seasoned professional with over twenty years of experience in film and television—not to

mention growing up in a family deeply involved in the industry—Lively knew full well the

implications of her request. But in the aftermath of the serious, and false, allegations that she had

leveled against Baldoni, Heath, Wayfarer, and the production, and with pressure from Sony, they


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     See CRD Complaint ¶ 5.


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reluctantly agreed to grant her access to the editing bay for two days. Notably, despite her

allegations that Baldoni made her “uncomfortable,” Lively insisted on working closely with him

through this process.




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       136.    In February and March 2024, Baldoni acceded to the request that Lively be “let in”

to the editing process:




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       137.    Later in March 2024, Lively continued pushing for her demands, as what had been

a two-day collaboration extended into ten, and Lively sought to work alone in the editing bay,

without Baldoni, so that she would have full control. Though Baldoni incorporated seven pages of

her notes into his edit at the very start, and consistently kept her involved in every subsequent edit

(despite having absolutely no obligation to do so), Lively was not satisfied with merely

collaborating with the director. She wanted to be the director, and see her own creative vision for

the Film realized.




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        138.   As the editors noted, Baldoni “bent over backwards for [Lively] for months on

end”:




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139.   As April 2024 approached, Lively gained approval rights over individual scenes:




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       140.    Finally, in April and May 2024, Lively’s extortionate threats coerced Sony to allow

her to create her own cut of the Film (a right that is exclusively reserved for directors) at Wayfarer

and Sony’s expense, and despite Baldoni and Wayfarer’s rightful protests. Sony’s reasons for

acquiescing to these beyond-unreasonable demands were clear. Sony told Wayfarer in no uncertain

terms that Lively refused to promote the Film unless her demands were met. Wayfarer, feeling

increasingly cornered into agreeing to Lively’s demands, attempted at least to require that Lively

finally sign her engagement contract if her demands were to be met. Even this basic ask was

refused, and Sony urged Wayfarer to give in.




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       141.    Baldoni and the Film’s original editors were not even allowed to see Lively’s cut,

even if just to see how much of their work had been replaced.




       142.    Still believing that in a sane and just world, despite Lively’s continued extortion,

an actress would never be allowed to usurp his legal right as a director to create and release his cut

of the Film, he assumed that Lively’s edits would simply supplement his work. Thus, Baldoni

continued refining his director’s cut. But as Lively threatened to refuse to promote the Film or

approve any related marketing materials (such as trailers, posters, and social media posts), a

doomsday scenario for this major motion picture, Wayfarer and Baldoni were extorted into

acquiescence to more and more demands. This included co-funding (together with Sony) a “friends

and family” screening of her version of the Film (which they had not approved or even seen),

entirely at Lively’s insistence.


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       143.    Ultimately, Lively replaced the Film’s editors with her own choice: an editor often

used by Reynolds, and the Film’s editors had to be let go. She also replaced the Film’s award-

winning composer with composers from Reynolds’ recent project – even though the Film’s

composer had already finished the score, with an orchestra (which is costly). Sony supported

Lively’s demands and even enforced her dictate that the Film’s director and editors not be

permitted even to view “her cut.”

       144.    Wayfarer and Sony found themselves in the unprecedented and uncomfortable

predicament of having two competing versions of the Film: one made by the Film’s actual director,

and one made by a person with no contractual or creative right to even approach the editing bay,

let alone make her own cut. But in light of Lively’s threat to withhold promotion of the Film, as

well as her thinly veiled threat to end Baldoni’s career with a slew of false accusations, the studio

reluctantly agreed to do an official audience test of both versions (again at Wayfarer and Sony’s

expense). This decision was made on the understanding that Lively had agreed with Sony that, if

Baldoni’s director’s cut tested higher, she would drop the matter and fully cooperate so that

Baldoni could finish the Film without further interference.

       145.    Tellingly, in a side-by-side comparison of audience tests, Baldoni’s cut scored

significantly higher with key audience demographics:




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       146.    Not surprisingly, Lively reneged on her promise and insisted that her version be

released to the public instead of Baldoni’s cut as director, even claiming that the book’s author,

Colleen Hoover, would refuse to promote the Film as well if Lively’s version was not chosen.

Sony called to tell Wayfarer that neither Lively nor any of the cast would promote the film unless

Lively’s cut were used. Baldoni was forced to choose between killing the film and his own career

by insisting on his own creative vision and rights, or putting out a version of the Film that Baldoni

knew could still be so important to domestic violence survivors, even if it differed greatly from

what it could have been. Baldoni reluctantly chose the latter, and stood down, allowing Lively’s

version of the Film to be released and promoted. Baldoni was essentially forced to fire himself as

director and allow Lively to finish his film, knowing it was the only choice he could make to serve




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the greater good. Two days later, Baldoni was hospitalized with a serious spine infection.

Eventually, with the key demographic being the focus, Sony and Screen Engine (the audience

testing company), convinced Lively to put back as much of Baldoni’s edit as they possibly could.

None of this was officially communicated to Baldoni, but whispers reached him that part of his

cut made it back into the final release. Baldoni made sure to thank and apologize to his editors,

whom Lively had caused to be let go.




       147.   By June 2024, Lively was dictating much of the marketing for the Film she had

stolen from Baldoni and Wayfarer:




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       148.    Lively shamelessly removed Baldoni (the Film’s co-star, director, and executive

producer who had championed this Film for 5 years and whose company had co-funded the entire

project), out of all posters, trailers, and other promotional materials. She continued to refuse to

promote the Film otherwise.




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       149.    Over Sony’s objection, Lively insisted on screening her cut at Book Bonanza,

Colleen Hoover’s annual convention hosting authors and fans from around the world, an event that

Baldoni had long been excited to attend. But Sony made it known to Wayfarer that, per Lively,

Baldoni could not attend, notwithstanding the obvious promotional and PR risks. Lively appeared

on a panel alongside Hoover and other cast members, icing out Baldoni from this critical event for

his own film. He was not even allowed to review the final cut before it was shown to the world.




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       150.    By July 2024, Baldoni was completely locked out of the Film’s final cut. By virtue

of his role at Wayfarer, he was permitted to “give notes as a studio.” This only added insult to

injury because he should not have been “giving notes”—he should have been editing the Film.

       151.    Despite his personal feelings, he redirected his thoughts to focus on the one

positive: The Film, years in the making, was very close to being seen by the world, even if it was

no longer his film. He prayed for the possibility that the Film could still make the impact he

intended when he first reached out to Colleen Hoover in 2019.




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       152.    Lively was still not satisfied. She continued to extort Wayfarer, Baldoni, and even

Sony, threatening to abandon her contractual obligation to promote the Film or approve marketing

materials if she wasn’t awarded a producer credit, and though Wayfarer had refused long ago to

accede to this request when it was made during initial negotiations, Wayfarer now had its back

against the wall and again, had to concede.

       153.    This still wasn’t enough. Lively later sought the coveted p.g.a. mark on her

producer credit—a certified designation licensed by the Producers Guild of America (“PGA”) to

identify producers who have performed the majority of the producing work on a motion picture.

Neither Baldoni nor Wayfarer believed Lively fulfilled the requisite criteria to earn this mark, but

that did not matter to Lively.


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        154.    Lively demanded, again with extortionate threats, that Baldoni, Heath, and other

producers and department heads send letters to the PGA in support of her certification for the p.g.a.

mark. Despite unanimous recognition of the absurdity and the unmistakably extortionate threats,

Sony and other parties, despite being adamant not to support Lively’s demand for the unentitled

mark, ultimately acquiesced and submitted letters of support.

        155.    However, Wayfarer and Baldoni firmly resisted. Because Lively did not perform

the duties of a producer and therefore did not merit the p.g.a. mark—a distinction highly valued

and taken seriously within the industry—Wayfarer and Baldoni refused to devalue the

contributions of actual producers, on the Film and elsewhere, who merited the mark, and were

unwilling to misrepresent Lively’s contributions to the Film. Having been forced in the face of

extortionate threats to concede to Lively’s every demand to thus far, they believed it would be

dishonest, unethical, and unjust to producers who rightfully earned the mark, to falsely represent

to the PGA that Lively had fulfilled the requisite producing responsibilities. Asking that they lie

on her behalf was the final straw...or so they thought.

        156.    In response, Lively instructed Sony to tell Wayfarer and Baldoni that “any good

will left between us is done.”

        157.    Eventually, in the face of persistent threats and extortion, Wayfarer and Baldoni

were left with little choice but to draft and sign a letter of support on Lively’s behalf, but not before

Heath sent an email to Wayfarer’s attorneys documenting that he and Baldoni were signing the

letter under duress.




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       158.    As the premiere of the Film approached, Lively made good on her promise and

instructed Sony that she and the cast would not participate in any marketing or promotion of the

Film alongside Baldoni, in spite of Baldoni and Wayfarer’s acquiescence to all her demands. She

made certain that Baldoni was removed from all artwork for the Film (posters included) and

stripped him of his “A Film By” credit. Lively and Reynolds also unfollowed him on social media,

as did the author of the book—someone with whom Baldoni had maintained a five-year personal

relationship, and for whom Baldoni created this opportunity.

       159.    The other cast members also unfollowed Baldoni, creating the false impression that

Baldoni had done something wrong. On information and belief, Lively induced the other cast

members to shun Baldoni, in an early attempt to give fans the impression that Baldoni had

committed an egregious sin, something so egregious that no one wanted to even take photos with

him or have him around. Lively was leaving what she had earlier referred to as “crumbs,” a social

media strategy she had learned from a close celebrity friend: to give fans just enough to allow them

to come to their own conclusions, thereby launching an army of detectives that, on information

and belief, Lively hoped would turn against Baldoni. The unfollowing of Baldoni by cast members

and even the author of the book, who he had a longstanding relationship with, was done without

warning or any communication from them, in stark contrast to the warm praise and appreciation

cast members had until that point always showered on him. For example, Isabela Ferrer, cast as

“Young Lily,” exchanged grateful texts with Baldoni during and after her filming stint, which

included a number of scenes involving intimacy:




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        160.    Tellingly, Ferrer worked with Baldoni when Lively was not on the set; it was not

until Ferrer spent substantial time with Lively during film promotions that Ferrer felt compelled

to shun Baldoni in repudiation of her warm words.

        161.    It became clear that Lively was laying the groundwork to explain away her theft of

the Film and exile of Baldoni. Presumably, she was concerned that her shocking conduct would

be frowned upon if it became widely known. Baldoni had no intention of ever making this

information public. In fact, as co-star of the film, both he and his studio, who co-financed the Film

and had spent millions of dollars, had every reason to want the Film to succeed; any suggestion

otherwise is illogical. Baldoni promoted the Film as originally intended, gave Lively full credit

and praise, and had done everything in his power, at every painful turn of making this Film with

Lively, to ensure the Film succeeded. He wanted to move on. Lively, however, would not let it go.

        162.    Baldoni later received word that, during the premiere of his movie Deadpool &

Wolverine, Reynolds approached Baldoni’s agency, namely, an executive at WME, and expressed

his deep disdain for Baldoni, suggesting the agency was working with a “sexual predator” (a phrase

that uncoincidentally later appeared in the press) and, at a later date, demanded that the agent

“drop” Baldoni. His wielding of power and influence became undeniable. Baldoni and Wayfarer

grew increasingly fearful of what Lively and Reynolds were capable of, as their actions seemed

aimed at destroying Baldoni’s career and personal life. This pivotal moment terrified Baldoni and

ultimately caused him to seek help anywhere he could to protect his reputation, his partners, and

his wife, children, and family from false accusations that could ruin their lives. Desperate, terrified,

and in this position for the first time, he sought expert guidance and was advised to engage “crisis

PR” to be ready in case Reynolds and Lively decided to unleash their wrath on them. As is

customary, a proposal was prepared for him with available measures and quotes of what each




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suggested measure would cost. This proposal, wrongfully obtained from the very public relations

company that once represented Baldoni (with whom he had recently severed ties), was later used

by Lively to knowingly and falsely assert that Baldoni had agreed to the most aggressive option in

the proposal. Lively falsely (and ironically) alleges Baldoni set out on a “smear campaign” to

destroy Lively despite the thousands of documents she alleges to have that would prove otherwise.

Notwithstanding, Lively, her team, and the Times worked in concert to cherry-pick, deliberately

misconstrue, splice, and alter private communications to manufacture a self-serving and factually

baseless narrative.




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       163.    Meanwhile, Lively systematically excluded Baldoni from all marketing and

promotional efforts with her and the cast for the Film. He was not invited to any cast promotional

events, cast screenings, premieres, photo shoots, or other cast campaigns. Baldoni was

marginalized from the marketing process. The purported “Marketing Plan” allegedly created by

Sony, which was later referenced in Lively’s CRD Complaint as “agreed to by all” (and attached

as an exhibit as fact even though it was merely “talking points” and not a binding contract), was

never the plan Baldoni “agreed to.”




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In fact, against much resistance from the Film’s distributor, Baldoni, from day one, made it clear

that he was making this Film to bring awareness to domestic violence and would not refrain from

doing so when promoting the Film. He did not “go rogue,” as Lively alleges.




       164.    While in Sweden celebrating his wife’s birthday, Baldoni was informed that Lively

demanded he not attend the Film’s premiere on August 6, 2024. Lively further threatened that if

Baldoni attended the premiere, she and the majority of the cast would boycott. It remained unclear


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what Lively had communicated to or promised the cast, but they now also refused to attend if

Baldoni was present. The fact that Sony advised Wayfarer to concede underscores Lively and

Reynold’s immense power and influence.

       165.    Baldoni and Wayfarer refused to succumb to the bullying tactics aimed at excluding

them from the premiere of their Film—a project they had financed, produced, and owned. This

threat marked the culmination of a year-long campaign of intimidation, harassment, and civil

extortion. Although objectively egregious and shocking, the Wayfarer team had unfortunately

grown accustomed to the bullying, fully aware of the immense power this couple wielded and the

far-reaching extent of their influence. However, they refused to give in to this entirely unreasonable

demand and valiantly searched for a compromise with Lively so that they could attend the premiere

of the Film that Baldoni had directed and co-starred in and that Wayfarer had co-financed and

produced. Heath moved mountains to negotiate a scenario that Lively would permit (with the help

of Sony, as Lively refused to speak to anyone connected with Wayfarer).

       166.    Just days before the Film’s premiere, Baldoni was still unsure if he would be

“allowed” to attend. His friends and family, most traveling from outside New York, were left in

limbo, unable to finalize travel plans or book flights. Baldoni did the best he could to hide his pain.

Despite still not having seen the final cut of the movie he co-starred, co-financed, and directed,

he wanted to celebrate the culmination of his years of work with his family and friends.




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        167.   Finally, through Sony, Wayfarer persuaded Lively to “permit” Baldoni and the

Wayfarer team, along with their friends and family, to attend—though only under demeaning and

humiliating conditions. They were relegated to a separate theater to view the Film, required to

arrive at a different time than the rest of the cast, and instructed to leave the red carpet immediately

once Lively arrived. Baldoni was also excluded from the official celebrity after-party, despite it

being an event ultimately paid for by Sony and Wayfarer. As a result, Baldoni had to quickly

organize and fund a separate after-party for himself and the Wayfarer team, forcing the company

to cover the costs for two events—one for Lively and everyone else, and one for Baldoni and

Wayfarer’s own friends, family, crew, and team.

        168.   Upon arrival, Baldoni began participating in red carpet photos and interviews

absent the presence of the remainder of the cast. However, his time on the red carpet was abruptly

cut short when it was conveyed that Lively was on her way, and he was instructed to stop


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immediately. He and his family were quickly ushered away. Security personnel, acting as though

there was a risk of “escape,” escorted Baldoni’s group to the basement of the building. There, they

were confined to a makeshift holding area surrounded by concession stand stock, with only fold-

out tables and chairs arranged in a square. Surrounded by close friends, family, soda bottles, and

a lot of love, the irony of being held in a basement on what was arguably one of the most important

nights of Baldoni’s career thus far, was not lost on anyone.




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       169.    Once the main theater was deemed “clear” of Lively and her guests, Baldoni and

his group were ushered into a separate theater to view the Film. At the conclusion of the screening,

they were again quickly escorted out of the building by security to avoid even a chance of

interaction with Lively or her guests. The Wayfarer after-party, held separately from the celebrity

event and attended by crew, family, and other Wayfarer friends, was a “dry” gathering, in part to

acknowledge the known negative relationship between alcohol and domestic violence. It was

attended by the entire Wayfarer team from Los Angeles and their friends and family. The

atmosphere and tone of the Wayfarer after-party were aligned with Baldoni’s vision for the Film,

focusing on celebration and gratitude, despite being humiliated.

       170.    In the meantime, Baldoni was sidelined as Lively and Sony pressed forward with

their promotional strategy for the Film. By contrast, Baldoni’s marketing plan, outlined in his

initial proposal to Sony years prior, shared with Lively, and communicated numerous times to both


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Sony and Lively, centered on a partnership with the organization No More. Founded in 2013, No

More is a global initiative aimed at raising awareness, inspiring action, and sparking conversations

to end domestic violence and sexual assault. Wayfarer’s collaboration with the organization began

in 2022 and held deep personal significance for both Wayfarer and Baldoni. Staying true to his

purpose for undertaking the Film, Baldoni prioritized amplifying the voices of survivors of

domestic violence. His efforts reflected the heart of the Film’s story and its profound impact on

audiences. He returned to the core reason for embarking on the project in the first place—his initial

outreach to the author of It Ends With Us five years earlier. Focusing on the Film’s message and

its potential to create positive change, Baldoni poured himself into ensuring its success despite the

mounting challenges. These genuine efforts, aimed at amplifying the voices of survivors impacted

by the Film, were later mischaracterized and weaponized against Baldoni.

       171.    In the end, empowered by her celebrity firepower and her powerful allies, Lively

did exactly what she set out to do: She took someone else’s movie for her own, destroying years

of creative vision and careful planning in service of her own brand-building campaign.

       172.    But why would Lively even seek to seize power over the Film? Why would she

insist on taking on additional work for no additional pay or credit?

       173.    On information and belief, Lively may have been motivated by a number of factors.

She may have wanted to seize control over the Film so that she could take over the production of

the sequel, “It Starts With Us.” This motivation also explains why the cast, who may have hoped

and/or been promised a role in subsequent productions, would choose to side with the powerful

couple, who themselves may genuinely believed they could destroy Baldoni and Wayfarer and

force them to cede (or even sell) the rights to the sequel.




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        174.    Or Lively may have felt driven to match her star husband Ryan Reynolds, who is

widely reported to have insisted on taking so much control over the Film “Deadpool 2” that the

director, Tim Miller, left the production. 20 Seeing the fame and success that Reynolds commanded,

she may have adopted his oft-repeated pattern wholesale to seize her own power and control.

Following his lead, and evidenced by many statements by Lively that he is involved in every

project she works on and vice versa, Lively and Reynolds, accustomed to getting their way,

perhaps felt entitled.

        175.    Regardless of why Lively insisted on seizing control of the Film, that is precisely

what she did. There can be no justification for her Machiavellian and civilly extortionate tactics

deployed to grab complete control over the Film.

        176.    Lively also sought ultimate control over the Film in the hope of boosting her own

brand and business ventures. In the end, though, Lively’s own words and promotional strategy led

to an avalanche of negative press.

        G.      Lively’s Power Grab and Catastrophic Miscalculation Collapse On Her

        177.    Starting at least July 10, 2024, Lively’s social media posts promoting the Film

maintained a lighthearted, frothy attitude, depicting Lively in glamorous and floral-inspired

couture, highlighting high-end brands like Chanel and Christian Louboutin.




20
  See Philip Ellis, Deadpool Director Tim Miller Says He Left the Franchise Because of Ryan Reynolds (Nov. 24,
2019), https://www.menshealth.com/entertainment/a29931219/ryan-reynolds-deadpool-tim-miller/


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       178.   Lively freely interspersed posts about her new movie with ads for her new hair care

line, Blake Brown. Upon information and belief, the launch of Blake Brown was timed to coincide

with the Film’s release in the hope that cross-promotional opportunities would boost sales for

Lively’s new brand.




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        179.    Lively also sprinkled in cross-promotions with her alcohol brand, Betty Booze.

This was a massive error in judgment. Social media commenters quickly pointed out that this tie-

in was in particularly poor taste, given that the World Health Organization estimates that 55% of

domestic violence incidents are linked to alcohol. 21




21
  Stacy Mosel, Female Domestic Violence and Alcohol Use (Nov. 2, 2023), https://alcohol.org/women/domestic-
abuse-and-alcoholism/


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       180.    Tellingly, Wayfarer spotted the issues and called for a course correction long before

Lively apparently realized the magnitude of her miscalculation. Wayfarer CEO Heath responded

to the organic online criticism by noting that “many people are pointing out that the DV [domestic

violence] is being glossed over and that Justin is essentially the only one appreciating the subject

matter whilst others may be not giving it the proper respect it deserves. As you know, this has

always been a concern of ours . . . .”



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       181.   Wayfarer’s Vice President of Marketing and Communications shared a post

exemplifying the issue, which included the tagline, “grab your friends, wear your florals,” that

soon became viral for all the wrong reasons.




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       182.    Heath and others at Wayfarer advised listening and responding to the wave of

online criticism that had met the bubbly, sunny messaging that Lively herself embraced so

wholeheartedly. Though Lively now claims that Heath, Baldoni, and others at Wayfarer sabotaged

her by planting “astroturfed” media criticisms of Lively, it seems that if she had listened to and

respected Plaintiffs’ perspective and insights on the unique sensitivities of marketing the Film,

rather than seizing the helm and then driving the ship aground, everything would still be coming

up roses for her. Most importantly, had she allowed Baldoni to take his rightful place side-by-side


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with her in the promotion of the Film, Baldoni would assuredly have kept domestic violence in the

spotlight during all promotions, which would assuredly had prevented her from hurting her own

image. Lively’s reputational backlash was entirely her own doing.




        183.    But once the backlash started on social media, without any effort by Lively to

course-correct and entirely without any involvement or effort by Baldoni, it rapidly spread to

mainstream media. See, e.g., Natasha Jokic, Here’s What’s Going On With The ‘It Ends With Us’

Drama (Aug. 12, 2024), https://www.buzzfeed.com/natashajokic1/it-ends-with-us-blake-lively-

justin-baldoni; Carly Johnson and Lillian Gissen, Blake Lively goes into damage control FINALLY

addressing the domestic violence in It Ends With Us Amid Criticism over ‘tone deaf’ film promo

(Aug. 13, 2024), https://www.dailymail.co.uk/tvshowbiz/article-13740773/Blake-Lively-address-

domestic-violence-Ends-film.html; Lillian Gissen, Blake Lively fans blast It Ends With Us actress

over    ‘tone   deaf’   and    “shallow”    interview    with   costars     (Aug.   12,   2024),



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https://www.dailymail.co.uk/femail/article-13739569/blake-lively-tone-deaf-domestic-violence-

interview.html; Elyse Wansehl, People Are Disgusted By Blake Lively’s Cutesy Press Tour For ‘It

Ends With Us’ (Aug. 14, 2024), https://www.dailymail.co.uk/femail/article-13739569/blake-

lively-tone-deaf-domestic-violence-interview.html;            Eboni       Boykin-Patterson,        Blake    Lively

Dragged        for   Marketing         Light     of     Domestic          Violence       (Aug.     14,      2024),

https://www.thedailybeast.com/blake-lively-dragged-for-making-light-of-domestic-violence/;

Alex    Abad-Santos,      Why    is     everyone       mad    at       Blake   Lively?     (Aug.    15,     2024),

https://www.vox.com/culture/367451/blake-lively-it-ends-with-us-press-tour-controversy; Olivia

Craighead, Fans Are Not Impressed with Blake Lively’s Press Tour (Aug. 15, 2024),

https://www.thecut.com/article/blake-lively-it-ends-with-us-press-tour-tone-deaf.html;                     Carolyn

Gevinski, The It Ends With Us promo has failed domestic violence survivors like me (Aug. 16,

2024), https://www.glamourmagazine.co.uk/article/it-ends-with-us-domestic-abuse-first-person;

Angela Yang, Blake Lively’s ‘It Ends With Us” promotion called ‘disrespectful’ by some survivors

of abuse (Aug. 19, 2024 https://www.nbcnews.com/pop-culture/blake-lively-it-ends-with-us-

promotion-criticism-rcna167175; Arwa Mahdawi, Sorry, Blake Lively: using a movie about

domestic       violence   to    sell     stuff    is    not        a    good     look     (Aug.      20,     2024

https://www.theguardian.com/commentisfree/article/2024/aug/20/blake-lively-it-ends-with-us-

colleen-hoover; Hannah Holland, ‘It Ends With Us’ was already problematic. Blake Lively’s press

tour made it worse. (Aug. 27, 2024), https://www.thecut.com/article/blake-lively-it-ends-with-us-

press-tour-tone-deaf.html.

        184.     Indeed, while Baldoni sought to focus on the Film’s central premise, Lively

incensed audiences with seemingly flippant and thoughtless remarks, encouraging viewers to




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“grab your friends” and “wear your florals.” Embarrassed and enraged by this self-induced

backlash, Lively now seeks to vilify Baldoni in a dubious attempt to resuscitate her public image.

        H.       Lively Seeks to Push the Blame Onto Plaintiffs

        185.     Upon information and belief, Lively ordered her team to begin a campaign to frame

herself as a martyr and pin the blame on Plaintiffs. Behind the scenes, Lively’s publicist, Leslie

Sloane, devised and executed a smear campaign of her own against Baldoni. Known for her

tendency to leak sensitive stories to provoke public controversy, 22 Sloane reneged on an agreement

with Nathan by continuing to disseminate false and defamatory stories about Baldoni and

Wayfarer, a process she had begun long before Wayfarer and Baldoni ever retained Nathan.

        186.     At 10:11 a.m. (PST) on August 8, 2024, Nathan and Sloane reached an agreement

whereby neither would communicate directly with a reporter prior to informing the other. Nathan

states, “I am not doing one thing without speaking to you[,]” to which Sloane responded, “Me

either[.]”




22
       See,    e.g.,   Guy      Adams,     A     Divorce     Battle,  A     PR      War     (July   8,    2024),
https://www.independent.co.uk/news/world/americas/a-divorce-battle-a-pr-war-7922529.html (reporting that Sloane
allegedly arranged paparazzi photo shoots and pushed stories about Scientology to sway public support for Katie
Holmes in Tom Cruise divorce); see also Tatiana Siegel, Harvey Weinstein Backing Publicist Leslie Sloane’s New
Venture (April 18, 2014), https://www.hollywoodreporter.com/movies/movie-news/harvey-weinstein-publicist-
leslie-sloane-697636/ (reporting on Sloane’s acrimonious split from BWR to start her Harvey Weinstein-backed PR
firm).


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       187.    Just nine minutes later, Sloane breached her agreement with Nathan by engaging

with a reporter at the Daily Mail. The reporter asked to speak with Sloane “regarding prob[lem]s

on the set involving [Blake Lively] and Justin Baldoni and the fallout over that with Blake being

labeled difficult and a power struggle existing.” Sloane, without consulting Nathan, promptly

responded, “That is 1000 percent untrue[,]” and further, “Your info is totally off[.]” It is evident

that Sloane never intended to honor her agreement with Nathan. Instead, she exploited the

arrangement to gain a strategic advantage in the media.




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       188.    In fact, Sloane actively continued her discussions with the Daily Mail reporter,

seeding false information to cast Baldoni in a negative light. To divert attention from Lively's

tyrannical behavior on set, Sloane attempted to portray Baldoni as the antagonist, stating, “The

whole cast doesn’t like Justin nothing to [sic] do with Blake[.]” She doubled down, insisting, “I’m

telling you she’s a liar. They are panicking as the whole cast hates him[.]” Sloane also threatened

the reporter, saying “The entire case I will have go on the record . . . this needs to hold.”




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       189.    At 7:59 a.m. (PST) on August 9, 2024, Nathan, consistent with the pair’s

agreement, sent a text message to Sloane containing an email she had received from a Daily Mail

reporter. Unbeknownst to Nathan, this was the same reporter with whom Sloane had been

communicating the day prior. Nathan confirmed that she played no part in the story and told

Sloane, “I’m going to have to speak with him, but I’m just going to tell him nothing[.]” She added,

“Happy to chat to you beforehand if you’d prefer.” Sloane deliberately omitted the fact that she

had spoken with the reporter just 24 hours prior, stating “Let me know how it goes.”




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       190.    Despite their agreement, Nathan was completely unaware that Sloane had provided

the reporter with information that significantly altered the narrative of the published story. Indeed,

the reporter originally sought to publish a story about “Blake being labeled difficult” on set. After

the reporter’s discussion with Sloane, however, the story changed to “We have learned that Justin

Baldoni caused issues on the set . . . .” Not only did Sloane breach her agreement with Nathan, but

she planted false and defamatory information about Baldoni to distract from Lively’s numerous

missteps and throw Wayfarer and Baldoni on the defensive.

       191.    Following the release of Lively’s administrative complaint on December 20, 2024,

the same Daily Mail reporter informed Nathan that Sloane had lied to portray Baldoni as the foe.

Yet still, Sloane escalated the false narrative by telling the reporter that Blake was “sexually

assaulted”—an unsubstantiated accusation that not even Lively had gone so far as to claim,

designed to destroy Baldoni and his reputation.



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       192.   Sloane ruthlessly took advantage of Nathan’s good faith. As a result, Nathan was

forced to combat the negative press that was both planted and propagated by Sloane. Ultimately,

the actual smear campaign was orchestrated by Sloane, at Lively’s direction.




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         I.     Jones Offers Ammunition for Lively’s Revenge—And Her Own

         193.   Enter Stephanie Jones, Wayfarer’s and Baldoni’s embattled former publicist and a

critical player in Lively’s scorched-earth campaign against Baldoni, Wayfarer, and their teams.

         194.   Jones is the founder and CEO of Jonesworks, a New York-based public relations

firm that Wayfarer engaged in May 2020 and that later handled publicity for Baldoni personally.

         195.   For almost four years, the Jonesworks Baldoni/Wayfarer account was managed by

Jen Abel, Jones’s right-hand, who ran the Jonesworks Los Angeles office. Abel developed a close

and trusting relationship with Baldoni, Heath, and the rest of the Wayfarer team, particularly as

their strategic communications needs became ever more complex due to Defendants’

machinations.

         196.   Long known within the public relations industry for her disarming Southern twang,

brass-knuckle tactics, and high turnover of clients and employees, Jones has had a successful

career, having founded Jonesworks and represented, at various times, Dwayne “The Rock”

Johnson, Jeff Bezos, Lauren Sanchez, Venus Williams, Tom Brady, and Chris Hemsworth.

         197.   Until recently, however, Jones had kept her worst excesses hidden from public

view.

         198.   That changed in or around May 2024, when Puck reported that Sanchez and

Johnson had dropped Jones as their publicist. While these were among the most prominent and

publicly reported departures, a cascade of Jonesworks clients began to cut ties with Jones,

especially after word had spread that Business Insider was contacting Jones’ former and current

clients and employees concerning a forthcoming article about her sordid behavior.

         199.   On May 8, 2024, a website called “Stephanie Jones Leaks” went live, along with

an X.com account, a Facebook page, a Reddit account, and a Pinterest page. These platforms




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disclosed a litany of highly disturbing allegations about Jones’ behavior and business practices,

many concerning Jones’ mistreatment of Jonesworks employees and clients.

       200.    These revelations caused a firestorm in Hollywood, resulting in a surge of negative

publicity regarding Jones, including the publication of the Business Insider piece entitled “Who’s

afraid of Stephanie Jones.” See Katie Warren and Jack Newsham, “Who’s Afraid of Stephanie

Jones,” Business Insider (Aug. 17, 2024), https://www.businessinsider.com/stephanie-jones-

jonesworks-pr-clients-tom-brady-jeff-bezos.

       201.    The Business Insider piece shed more light on the real Jones. Always a volatile

personality, Jones had become noticeably more paranoid, erratic, and cruel in recent years.

       202.    The Business Insider story also shed light on the toxic workplace Jones had fostered

at Jonesworks. At the office, Jones would regularly turn on deafening music so that she could

berate her employees free from scrutiny. “I don’t think there was one day in the office that someone

wasn’t crying,” said a former employee.

       203.    Jones also pried into her employees’ private lives without invitation. When

employees called in sick, Jones would FaceTime them to confirm they were actually sick. In at

least one instance, an employee who had taken a personal day to attend a funeral received a

FaceTime call from Jones during the ceremony. Jones was apparently suspicious of his

whereabouts.

       204.    Unsurprisingly, turnover rates at Jonesworks were extraordinary. These departures

included not only junior employees—who often left after less than a year—but also senior

executives who managed client accounts. Jones seldom allowed them to go amicably, often

enlisting attorneys to threaten and intimidate them into agreeing not to disparage Jones.




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        205.        In April 2023, Dwayne “The Rock” Johnson dropped Jonesworks after clashes

between Jones and Johnson’s team. Jonesworks had handled Johnson’s personal PR, as well as

that of his production company, tequila brand, clothing company, and business partner, Dany

Garcia. This was a big loss for Jones and one that she kept under wraps from media in order to

leverage opportunities for other clients. The same year, Jones was also dropped by Bezos, Sanchez,

Lainey Wilson, Chris Hemsworth, Wheels Up, Ocean Spray, and Partake Foods.

        206.        Through it all, Jennifer Abel remained loyal to Jones, sticking with her through

thick and thin despite growing doubts about Jones’ ability to function professionally. Jones had

become increasingly hostile towards Abel, criticizing Abel’s management, displaying paranoia

about her close relationships with clients and partners, and going out of her way to reprimand,

demean, and embarrass Abel in front of junior employees she oversaw.

        207.        Over time, Abel became convinced that Jones was in a downward spiral and

harbored serious concerns about Jones’ mental health. Jones had become increasingly erratic,

calling and FaceTiming Abel at all hours of the night in a frenzied state, overtly pitting employees

against each other, and attempting to “catch” them in perceived acts of disloyalty.

        208.        Jones had always been volatile, but her behavior had become downright deranged.

Often, Abel was on the receiving end of her outbursts. For instance, Jones informed Abel’s charges

that she had learned through psychic readings that Abel was an alcoholic and a gambling addict.

Neither has any basis in fact. While Jones presumably intended to undermine Abel’s credibility,

she had actually undermined her own and raised significant concern among the Joneswork staff

about her mental stability. Jones also announced, per her psychic, that Abel would soon be

pregnant with twins, humiliating and infuriating Abel, who—Jones knew—had struggled with

fertility issues.




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       209.     Already pushed to the brink, Abel finally had enough when Jones demanded she

corroborate falsified accusations about a senior Jonesworks employee in an effort to drive him out.

When Abel refused to go along with it, Jones responded with mockery, calling her a “12 year old

drama queen.”

       210.     On July 10, 2024, Abel notified Jones of her departure from Jonesworks and

intention to start her own business. Abel offered a six-week transition period, with an end date of

August 23, 2024.

       211.     Predictably, Jones took the news poorly, to say the least. Consistent with her

increasingly erratic behavior, Jones swung from extreme to extreme, one minute desperately

attempting to convince Abel to stay, then next berating her and cutting her out.




       212.     While Abel was resolute about leaving, she had every intention of doing so

amicably, a sentiment she repeatedly conveyed to Jones.




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       213.    However, as Abel’s end date drew closer, Jones grew more combative. With several

weeks left in her tenure and innumerable client matters to handle, Abel found that she had been

removed from client email distribution lists and left in the dark about meetings, calls, and events

she was expected to attend. It was clear to Abel that Jones was trying to embarrass Abel and tarnish

her professional reputation in advance of her departure.




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       214.    In her final week, Abel contacted Jones’ chief and staff concerning the release of

her phone number. When Abel joined Jonesworks in 2020, she ported her existing phone number

(which she had used since high school) and switched to a Jonesworks-issued iPhone. Knowing

that she would have to turn over the physical device upon her departure, Abel arranged for her

phone number to be “released” so she could port it to a new device and retain decades worth of

personal contacts, photos, private conversations with friends and family, and confidential financial

data and access accounts protected by two-factor authentication. Jonesworks’ chief of staff assured

her multiple times in writing that Jonesworks would cooperate and uphold their agreement.




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       215.    On August 21, 2024, two days before her last day, Abel pulled up to the Jonesworks

office in Beverly Hills. There, she was confronted by a physically imposing security guard, a

lawyer sitting at a conference table covered in documents, an IT professional, and Jones’ chief of

staff (who had flown in unannounced from New York). Apart from Jones’ chief of staff, Abel had

never seen any of them before. After being ushered into the conference room, Abel saw that the

security guard was posted just outside its doors, blocking the exit. There, the attorney pointed to

the documents and told Abel, in a menacing and cold tone, to review and sign them. The attorney

told her that Jonesworks believed she had proprietary information on her personal laptop and

would likely have grounds to sue if Abel did not allow them access.

       216.    Completely caught off guard by this hostile and intimidating display, Abel fell into

a state of shock. She had never experienced anything like this and did not know what to do. Fearful

that she would burst into tears and humiliate herself (which she knew was what Jones wanted),




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Abel dissociated. Knowing she had not done anything wrong and desperate to get out of there,

Abel signed the documents without digesting their contents.

       217.    Afterward, the lawyer demanded that Abel hand over her personal laptop. Abel

complied, and the IT professional conducted a search that turned up nothing. The attorney then

presented Abel with a list of approximately 10 documents and accused Abel of having accessed

and stolen them. Abel denied having done so, and the IT specialist conducted a further search of

her laptop, which again turned up nothing. The attorney then instructed Abel to hand over her

phone, after which security would escort her out of the building.

       218.    Still utterly shell-shocked and desperate to get out of there, Abel agreed to hand

over her phone so long as they would confirm that Jonesworks would immediately release her

personal cell phone number, which would enable Jonesworks to take possession of the physical

device without gaining unrestrained access to its contents. It would also allow Abel to get a new

phone and move on with her life without undue disruption. After express confirmation from the

Jonesworks chief of staff and attorney, Abel handed them the phone and was ushered out of the

building as her colleagues watched in disbelief. Seeing that Abel had been stripped of her phone

(and therefore had no way to contact anyone), some reached out to Abel’s partner, family, friends,

and former co-workers to let them know what had happened.

       219.    Abel went straight to a Verizon store a short distance away. Once there, Verizon

contacted Jonesworks to coordinate the release and transfer. The Jonesworks chief of staff assured

Abel and Verizon that they were in the process of effectuating the release and to bear with them

for a few minutes. Abel never heard from him again. After four hours of desperate (unanswered)

calls, Abel left Verizon in panic and despair. Abel realized Jones had double-crossed her—in a

very serious way. By refusing to release Abel’s phone number, Jonesworks had usurped her




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contact information and cut off Abel’s access to critical accounts protected by two-factor

authentication linked to that phone number. As a result, Abel lost access to her iCloud (including

all her text messages, photos, and contacts), bank accounts, utilities, insurance, and virtually every

other sensitive account. By contrast, Jones now had unrestricted access to everything stored on

Abel’s phone—her text messages, emails, personal photos. Jones could read her communications

with her fiancé, parents, friends—everyone. Jones was acting purely out of spite.




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       220.   It took Abel over a month to regain control over all her accounts. Meanwhile, she

learned that Jones had been sharing her private text messages with the entire office, mocking and

disparaging her. Having torched Abel’s privacy and dignity, Jones started boasting that Abel’s

business was next. In or around early September 2024, Jones warned a departing employee not to

work for Abel because “her business wouldn’t be around much longer.”




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       J.      Stephanie Jones Falls Out with Wayfarer and Baldoni

       221.    By then, Jones also had an axe to grind with Wayfarer.

       222.    For the entirety of Wayfarer’s four-year engagement with Jonesworks, Abel was

the point person on the account. Jones was more concerned with “prestige” clients like Tom Brady

and devoted little to Wayfarer or Baldoni.

       223.    But Jonesworks was in utter turmoil by July 2024. Already bleeding clients and

personnel, Jones learned that Business Insider was working on an unflattering story about her set

to be published sometime in August. Her reputation had already been severely damaged by the

“Stephanie Jones Leaks” website and social media accounts. Jones was desperate to keep her

remaining clients. Given Abel’s close relationship with Wayfarer and Baldoni, Jones was

undoubtedly concerned they would leave Jonesworks alongside her. And she wanted to make sure

that did not happen.

       224.    At the time, Wayfarer and Baldoni were in the midst of a massive PR crisis, as news

stories began to trickle out concerning tension between Lively and Baldoni just as the Film was

about to premiere. Jones started participating in meetings, calls, and written correspondence to

reassert her authority over the account and convey her engagement to Wayfarer.

       225.    Abel recommended that Wayfarer engage a crisis PR specialist, Melissa Nathan, to

assist in navigating these choppy waters. The need for crisis PR expertise was particularly acute

due to Lively’s demand that Baldoni not be permitted to attend the premiere. In addition, Abel

learned from Nathan that, per her media contacts, a negative story was being “shopped” around to

multiple outlets, positioning Baldoni’s religion as a “cult” and accusing Baldoni of having “fat

shamed” Lively.




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       226.   When Jones learned that Wayfarer was considering retaining Nathan, she was

furious. Jones viewed Nathan as a competitor and conveyed to Abel that her recommendation to




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Wayfarer was a betrayal of trust. Jones then sought to derail the plan, badmouthing Nathan and

disclosing client confidences from past collaborations between Jonesworks and Nathan.




While Heath acknowledged Jones’ position, he told her Wayfarer would make its own decision

after meeting Nathan.

       227.    So Jones inserted herself into the mix in early August 2024, seeking to box out

Nathan and Abel. The problem, however, was that Jones had chosen not to be privy to Wayfarer

leadership’s communications strategy or internal decision-making, having long claimed to be too

busy with higher profile clients. Wayfarer was fine with Jones’ disengagement, as Abel was their

trusted advisor, and they had no interest in being a pawn in Jonesworks office politics. In addition,




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Jones had chosen to take a lengthy vacation in Europe during this critical period of the press

campaign and premiere of the Film. Even from afar, Jones’ efforts were ham-fisted, unwelcome,

and sporadic given her distance from Wayfarer’s day-to-day business. As Jones tried to stir up

drama and undermine Abel’s authority, Wayfarer and Baldoni were focused solely on managing

the crisis in front of them.

        228.    At the time, Lively’s and Baldoni’s teams had negotiated an uneasy truce in which

neither side would participate in negative coverage of the other. Lively’s team had already broken

that truce, but the Wayfarer team did not know that then. As far as they were concerned, it was

best for Baldoni, Lively, and the Film if both sides agreed to keep the peace, though Wayfarer’s

team had to date been acting only in defense in responding to press inquiries.

        229.    But on August 8, 2024, Jones, in another desperate attempt to re-insert herself,

contacted a Daily Mail reporter about a story they had published about Baldoni and Lively. She

did so in direct violation of Abel’s instruction not to talk to the press given the truce with Lively’s

team. Nonetheless, Jones bragged to Wayfarer about “trading calls” with the Daily Mail in an

effort to appear engaged on the account.




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       230.    This blatant disregard of Wayfarer’s strategy sparked a chain of unfortunate

developments. Sloane and Sony learned that “someone from Baldoni’s team had been

communicating negatively to media.” It was clearly Jones, and Wayfarer’s leadership was livid.

As was Sony. All parties were desperate to prevent an all-out slugfest between Lively and Baldoni

just as the Film was about to be released to the world. With her reckless and unauthorized activities,

Jones had made that scenario much more likely. In response, Wayfarer instructed Jones to cease

all activities on behalf of Wayfarer and Baldoni for the time being and to let Abel and another Los

Angeles-based Jonesworks employee, Matthew Mitchell, handle the crisis alongside Nathan.

       231.    At this time, Nathan started hearing from other journalists that Sloane was planting

negative stories about Baldoni and was under the impression that Baldoni’s camp had broken the

truce. Anxious Sony executives began reaching out to Wayfarer seeking clarity.




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       232.   Yet Jones, panicked about being blamed, refused to be sidelined, insisting that she

needed to contact Sony’s and Lively’s PR teams to clarify that she had not planted any negative

stories about Lively. Heath told her not to do that, to which Jones responded that she could do

“whatever she wants” to clear her name and that Wayfarer cannot stop her from making calls.

Desperate to salvage her reputation with Lively and Sony, Jones emailed a number of key Sony

executives working on the Film to declare that she was in Europe with “her husband, partner at

WME Jason Hodes” and placing all blame on “her team.” In her attempt to save face, Jones

ruptured her relationship with Wayfarer and Baldoni.

       233.   Although Jones ultimately agreed to stand down, Wayfarer and Baldoni had lost all

trust in her. After parachuting in for self-interested reasons, nearly blowing up the truce with




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Lively’s team, and lashing out when told to stop, Jones became a magnet for drama when it was

least needed.

       234.     But Jones was not ready to throw in the towel. Ironically, given her later attempt to

fabricate a “smear campaign” narrative, it was Jones—not Wayfarer, Baldoni, Abel, or Nathan—

who started advocating for a more aggressive public relations strategy.




       235.     On or about August 14, 2024, Jones sent an email to Heath further elaborating on

her “recommended strategy”:




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                **Flood the Zone with Positives**: We need to ensure that we promote
       positive narratives that media outlets cannot ignore. Currently, most stories are
       heavily biased towards Blake’s perspective, leaving Justin unrepresented. It’s
       crucial that we fight for every inch of every story, which requires far more effort
       than typical crisis PR want to put forth in our experience working with specialized
       crisis teams.

              **Prepare Alternate Stories**: We should mobilize a robust network of
       supporters and third-party advocates ready to counter these narratives on deep
       background as well as some on the record, making it clear that the claims being
       made are untrue and unfounded.




She doubled down in an email on August 21, 2024, threatening that Wayfarer and Baldoni had an

“EXCLUSIVE contract . . . through May 2025”:




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       236.    As September drew near, Wayfarer and Baldoni—with the assistance of Abel and

Nathan—continued their tireless efforts to promote the Film, put out fires, and see the project

through to the finish line. Stewing in jealousy towards Abel and resentment towards

Wayfarer/Baldoni, Jones clearly saw the writing on the wall. Knowing she would soon be

terminated, Jones started taking steps transparently intended to make it harder to cut her loose.

Those steps included sending email after unwelcome email to Heath and others—long after their

relationship had irrevocably ruptured—to lay the groundwork to contest that she had been detached

and nonresponsive for years. This was especially galling, as Jones had been in Europe and largely

incommunicado—save for her disastrous efforts at self-preservation—for weeks during the critical

month of August when the Film premiered.

       237.    For Wayfarer and Baldoni, the decision was straightforward. As soon as Abel was

out at Jonesworks, Wayfarer was out too. This was not about Abel “poaching” Wayfarer or

Baldoni. Nor was it part of a premeditated plan to cut out Jonesworks. But Abel was a trusted,

loyal, and committed member of the team. Wherever she went, Wayfarer and Baldoni would

follow. On the other hand, Jones was a walking disaster whose self-absorption, disloyalty, and

insubordination had been a significant headache.

       238.    Rather than accepting the end of the relationship with professionalism and

decorum, Jones started threatening to sue, demanding exorbitant payment for work not done, and

protesting that she had done an amazing job. But Wayfarer and Baldoni had already made the

decision to part ways with Jonesworks, and their decision was final.

       239.    For Jones, stewing in indignity and resentment, the loss of yet another client—to

Abel, no less—was a sting too great to bear. And so she chose to take revenge on all of them.




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       240.    Recall that Jones had taken possession of Abel’s personal phone, including all of

her text messages, emails, personal photos, and so forth. Having chosen a path of no return, she

could now exploit them to great effect, pouring gasoline over the heads of her former clients and

longtime former deputy and lighting a match.

       241.    On information and belief, Jones approached Lively’s team with an appealing offer:

ammunition sufficient to destroy Baldoni, Wayfarer, and Abel in one fell swoop. Wielding reams

of Abel’s private communications—which could readily be sliced and diced to construct a false

narrative—Jones had quite the pitch for an embattled Lively and her team. Knowing that Lively

was convinced (wrongly) that Baldoni—and not her off-putting public appearances and cynical

self-promotion—had been responsible for the rash of negative publicity directed towards her,

Jones correctly assumed that she would find willing conspirators in the Lively camp.

       242.    In turning over these materials to Lively, Jones knew full well that the blowback

would also engulf Wayfarer and Baldoni. And that was the point. Revenge.

       243.    Her plan worked like a charm, at least for a time. Working hand-in-glove with the

New York Times, Lively concocted a fantastical narrative that laid the blame for her travails exactly

where she believed it belonged—with others.

       244.    The ramifications of this scheme have been grave for Wayfarer, Baldoni, Abel, and

Nathan, who became objects of public scorn and derision overnight. Abel and Nathan, two private

individuals (and female small business owners), have had their lives turned upside down: Their

careers and reputations have been destroyed, their private information leaked, and their email

inboxes and social media pages filled with a daily stream of death threats, abuse, and vile

antisemitic remarks. The backlash against Wayfarer and Baldoni has been equally devastating,




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with Baldoni wrongfully labeled as a sex pest, his accolades rescinded, and his future projects

thrown into doubt.

       245.    And Jones still has all of Abel’s private photos and text messages, which Abel has

every reason to believe will find their way online via Jones; some already have. She lives in fear

of what Jones has in store for her and for what other client confidences Jones is willing to divulge

in her fit of pique at Abel. All of this because Abel dared to leave Jonesworks and start her own

business.

       246.    The results have been a calamity for everyone roped into Lively’s and Jones’

campaign of destruction.

       K.      Lively and Reynolds Threaten Plaintiffs Unless They Take the Fall

       247.    On August 12, 2024, Heath and Abel had a call with two executives from their then

talent agency. One admitted that the root of Lively’s problems was focusing the promotion of the

Film on frivolities like fabulous premiere dresses, Hollywood glamour, and the commercial

benefits for Lively’s brands, while Baldoni had always maintained his public focus on amplifying

the voices of domestic violence survivors. The executive communicated the demand from Lively

and Reynolds that Wayfarer, Heath and Baldoni make a public apology that day and that, if they

failed to do so, the “gloves would come off.” Stunningly, the executive even told Heath and Abel

that Lively and Reynolds objected when Baldoni spoke kindly of Lively in public, claiming that it

misrepresented their relationship.

       248.    The talent agency executive told Heath and Abel that Lively believed Wayfarer,

Baldoni and Heath were waging a shadow campaign against her. Abel quickly disabused the

executives of that notion, conveying her belief that she and Sloane had reached a kind of truce,




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while Nathan had not come on the team or taken a proactive role until they started getting press

requests.

       249.     The second executive admitted on the call that “no one pushes back” on Lively

and Reynolds.

       250.     The next day, on August 13, 2024, Abel and Heath had another call with talent

agency executives. During this call, one executive told Heath that the agency had spoken to Lively

and Reynolds by phone about the overwhelming tide of negative publicity that they had faced over

the past days. Heath clarified that Wayfarer, Baldoni and Heath had no connection to the negative

publicity, but they told Heath that Lively and Reynolds had demanded that Wayfarer put out a

statement “accepting blame” for the problems during filming, with an express threat that they

themselves would attack Wayfarer in the press if Wayfarer refused.

       251.     The executives told Heath and Abel that Reynolds and Lively dictated a statement

that they required Wayfarer to put out, calling It Ends With Us a “troubled” production and forcing

Wayfarer to take “accountability” for the problems in the production. Wayfarer, Baldoni, and

Heath would have to acknowledge and own their “mistakes” and “own” all negativity being aimed

at Reynolds and Lively.

       252.     Abel and Heath asked that the executives clarify what exactly Wayfarer, Baldoni

and Heath were being asked to “take accountability” for. They admitted that Lively and Reynolds

were simply upset by how social media had turned against them. Stunningly, the executive

admitted that Lively and Reynolds brought the backlash on themselves, but that they were beyond

reasoning with. He admitted that making constant threats was Lively and Reynolds’ well-known

modus operandi and that their demands were not based on reality, but on finding someone to blame

for their social media crisis besides themselves.




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       L.     Lively Plays the Final Card in Her Hand: False Accusations of a Smear

              Campaign, Deployed in the New York Times

       253.   When Plaintiffs refused to take the fall for Lively’s disastrous promotional

campaign, Lively was true to her word: The gloves came off.

       254.   Months after the Film’s premiere, on December 21, 2024, a bombshell article

dropped in the New York Times. Authored in part by Megan Twohey, who gained prominence for

her exposé of Harvey Weinstein, the article’s headline promised a glimpse “Inside a Hollywood

Smear Machine” (the “Article”):




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        255.    The Article purported to provide a detailed account of a calculated campaign to

bring down Lively in retaliation for daring to speak out against sexual harassment on the set of It

Ends With Us. The Article draws heavily from the California Civil Rights Department (“CRD”)

complaint that was filed by Lively the day before. The CRD complaint and the Article are both

purportedly based on “thousands of pages of text messages and emails that [Lively] obtained

through a subpoena.” The Article notes, “These and other documents were reviewed by the New

York Times.”

        256.    The four-thousand-plus words of the New York Times article dropped less than a

day after Lively apparently filed her CRD complaint. The close coordination between Lively’s

team and the New York Times, likely over a matter of months before the CRD complaint was filed,

is plain.

        257.    The Article refers to the 17-point letter of production conditions that Lively insisted

upon. While the reasons for making many of those demands were mystifying to Plaintiffs at the

time, once the Article was published, it became clear that Lively had seeded her revenge more than

a year before. By insisting on superfluous or already-extant “protections,” Lively laid the

foundation for her baseless claims of pervasive sexual harassment. When she buffaloed Plaintiffs

into agreeing, she sealed the perfect narrative poison pill, allowing her to later claim that Plaintiffs’

agreement to the 17-point letter was proof positive that sexual harassment was endemic on the

Film’s set.

        258.    But Lively had to explain away the self-inflicted mountain of bad press she had

brought down on herself, as discussed elsewhere herein. Finally, Jones’s wrongfully obtained texts

could be deployed for maximum damage.




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       259.    On information and belief, Lively and her team used cherry-picked text messages,

stripped of context and even manipulated, to peddle a narrative that Plaintiffs had responded to

Lively’s complaints about purported sexual harassment by plotting to destroy her reputation

through a shadow smear campaign. Apparently, the New York Times credulously accepted the

narrative wholesale while making little or no attempt to investigate the veracity of that narrative.

       260.    By telling the New York Times a false and damning story about an insidious PR

sabotage operation deployed as revenge for sexual harassment complaints, with the knowledge

and intent that the newspaper would publish that false story, Lively and her co-conspirators

committed the tort of defamation.

       261.    For example, Lively’s CRD complaint, which, on information and belief, she

provided to the New York Times long before filing it, references text exchanges between Nathan

and Abel as purported evidence that Nathan planted a negative story in the Daily Mail titled “Is

Blake Lively set to be CANCELLED?” Lively’s portrayal is categorically false, misleading, and

devoid of factual basis, yet knowingly propagated to the Times. Lively’s “smear campaign”

narrative hinges on an August 16th text exchange in which Nathan allegedly shared a link to this

article with Abel. The text exchange shows Abel responding, “Wow,” followed by, “You really

outdid yourself with this one,” to which Nathan allegedly replied, “That’s why you hired me, right?

I’m the best.” These messages constitute the entirety of the purported evidence underlying the

allegation of a “smear campaign” orchestrated on behalf of Baldoni. But the information Lively

fed to the New York Times was apparently selectively and deceptively edited, resulting in a gross

misrepresentation that actually reversed the sarcastic meaning and tone of the messages.




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       262.    Lively, who apparently collaborated closely with the New York Times on the article

covering her CRD complaint, must have known that the text messages were unscrupulously altered

and selectively edited, enabling Lively and her team to propound a false “smear campaign”

narrative designed to destroy Plaintiffs for the Times’ knowing or reckless dissemination.

Specifically, in the immediately preceding text message exchange on August 16, Nathan

forwarded a screenshot of a message from a reporter informing her, for the first time, of the Daily

Mail article. In response, Nathan wrote, “Damn. This is not fair because it's also not me,”

followed by, “Everything now looks like it’s me.” Perhaps unknowingly, Nathan was already

anticipating the accusations that would soon be leveled against her and her fellow Plaintiffs.




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        263.   Further evidence of Lively’s machinations appears in the missing emoji heard

’round the world. After Nathan forwarded a screenshot of the article link, Abel responded with,

“You really outdid yourself with this piece      ,” adding a “   ” to indicate the sarcastic nature of

her message. The “        ” emoji is commonly used to convey irony, sarcasm, joking, or a sense of

goofiness or silliness.




        264.   In her CRD complaint and apparently in the materials she forwarded to the Times

for their uncritical publication, Lively deliberately excluded not only the preceding screenshot of

the text exchange in which Nathan denies involvement in the story, but also the ‘            ’ emoji,

fundamentally and willfully altering the sarcastic tone of Abel’s message to mislead the reader

into interpreting Abel’s response as literal and sincere. This omitted context is critical, as it


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demonstrates that each subsequent message in the exchange was similarly intended as sarcasm,

including Nathan’s statement, “That’s why you hired me, right? I’m the best.” Further review of

the text message exchange—also excluded from both Lively’s CRD complaint and the Times

article—unequivocally shows that Abel and Nathan were engaging in a sarcastic and joking

manner, as evidenced by the use of the ‘HaHa’ tapback reaction. When read in full, the exchange

reveals Nathan and Abel engaging in facetious, wry banter bordering on gallows humor in response

to their predicament—not conspiring against Lively. Lively, and in turn the Times, misrepresented

these communications to support her salacious and unfounded “smear campaign” narrative. This

calculated distortion underscores Lively’s duplicity.

        265.      Any negative press about Lively was unequivocally a consequence of her own

actions. Even the Times itself acknowledged Lively’s public missteps in an August 17, 2024,

article titled, “It Ends with Us: The Press Tour Drama, Explained.” In it, reporter Shivani

Gonzalez observed: “Lively’s promotion of the movie has included a push for her new hair care

line, discussion of the clothes in the movie, and response to questions about abuse, which have

been criticized as shallow and tone deaf . . . Baldoni, by contrast, has emphasized the importance

of raising awareness of domestic violence and providing resources for those in similar

situations.” 23


23
    See also Natasha Jokic, Here’s What’s Going On With The ‘It Ends With Us’ Drama (Aug. 12, 2024),
https://www.buzzfeed.com/natashajokic1/it-ends-with-us-blake-lively-justin-baldoni; Carly Johnson and Lillian
Gissen, Blake Lively goes into damage control FINALLY addressing the domestic violence in It Ends With Us Amid
Criticism over ‘tone deaf’ film promo (Aug. 13, 2024), https://www.dailymail.co.uk/tvshowbiz/article-
13740773/Blake-Lively-address-domestic-violence-Ends-film.html; Lillian Gissen, Blake Lively fans blast It Ends
With Us actress over ‘tone deaf’ and “shallow” interview with costars (Aug. 12, 2024),
https://www.dailymail.co.uk/femail/article-13739569/blake-lively-tone-deaf-domestic-violence-interview.html;
Elyse Wansehl, People Are Disgusted By Blake Lively’s Cutesy Press Tour For ‘It Ends With Us’ (Aug. 14, 2024),
https://www.dailymail.co.uk/femail/article-13739569/blake-lively-tone-deaf-domestic-violence-interview.html;
Eboni Boykin-Patterson, Blake Lively Dragged for Marketing Light of Domestic Violence (Aug. 14, 2024),
https://www.thedailybeast.com/blake-lively-dragged-for-making-light-of-domestic-violence/; Alex Abad-Santos,
Why is everyone mad at Blake Lively? (Aug. 15, 2024), https://www.vox.com/culture/367451/blake-lively-it-ends-
with-us-press-tour-controversy; Olivia Craighead, Fans Are Not Impressed with Blake Lively’s Press Tour (Aug. 15,
2024), https://www.thecut.com/article/blake-lively-it-ends-with-us-press-tour-tone-deaf.html; Carolyn Gevinski, The


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It Ends With Us promo has failed domestic violence survivors like me (Aug. 16, 2024),
https://www.glamourmagazine.co.uk/article/it-ends-with-us-domestic-abuse-first-person; Angela Yang, Blake
Lively’s ‘It Ends With Us” promotion called ‘disrespectful’ by some survivors of abuse (Aug. 19, 2024
https://www.nbcnews.com/pop-culture/blake-lively-it-ends-with-us-promotion-criticism-rcna167175;               Arwa
Mahdawi, Sorry, Blake Lively: using a movie about domestic violence to sell stuff is not a good look (Aug. 20, 2024
https://www.theguardian.com/commentisfree/article/2024/aug/20/blake-lively-it-ends-with-us-colleen-hoover;
Hannah Holland, ‘It Ends With Us’ was already problematic. Blake Lively’s press tour made it worse. (Aug. 27, 2024),
https://www.thecut.com/article/blake-lively-it-ends-with-us-press-tour-tone-deaf.html.



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       266.   As noted elsewhere herein, Lively’s marketing efforts, which included encouraging

audiences to “grab your friends, wear your florals” while promoting her hair care and alcohol


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brands, were widely criticized as insensitive. This was particularly glaring given the well-known

links between domestic violence and alcohol consumption. Her actions naturally triggered organic

public criticism and unleashed a cycle of negative coverage, including, as is common in the digital

age, the resurfacing of old, unflattering content.




       267.    Far from being the product of a calculated smear campaign by Plaintiffs, the

backlash against Lively was the inevitable fallout of her own mercenary messaging and self-




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promotional tactics, amplified by her inability to read the room in addressing such a serious

subject.




       268.   The contemporaneous communications of Plaintiffs show a growing awareness that

they were being set up to be blamed for Lively’s disastrous missteps.



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       269.    While they became increasingly concerned at the finger-pointing aimed their way,

Plaintiffs still found the time to be gracious around the few media wins Lively could tally.




       270.    Plainly, Defendants had thousands of text messages and communications. They had

all the pieces to put together what really happened, and they would not even have had to search


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particularly hard to do so. They chose not to, because that did not serve the goal of trashing

Plaintiffs in the ultimate power play by wealthy celebrities who have not heard the word “no” for

decades.

        271.    At bottom, the case is a simple one. Lively used her power to steal a movie from its

director and production studio. Then she held them hostage to her incessant demands by

extortionate threats to destroy what they had left. All the while, she failed to understand the heart

and soul of the movie she stole and the book it was based on, let alone the intensely personal

impact the book had on millions worldwide. When her thoughtless promotions fell flat because

they focused on flowery glamour and cross-merchandising opportunities for her own brands, rather

than on centering the voices of survivors, she finally got a taste of accountability, and she did not

care for it. She made one final demand to Plaintiffs: that they finally and forever fall on the sword

for her by apologizing for things they had not done, killing their future prospects in the process.

When they refused, Defendants’ gloves came off, and they used their power and resources to try

to take down Plaintiffs for good by coordinating with Jones and Sloane, master practitioners of the

dark arts of public relations, in an intricately planned character assassination plot. They nearly

pulled it off, too.

        272.    Defendants have cost Plaintiffs their film, their reputations, their future prospects,

even their talent agency. It is time to rebalance the scales.

                                             PARTIES

        273.    Plaintiff Wayfarer Studios LLC is, and at all relevant times herein was, a Delaware

limited liability company with its principal place of business in Los Angeles, California. None of

Wayfarer’s members are citizens of New York. All of Wayfarer’s members are citizens of

California.




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       274.    Plaintiff Justin Baldoni is, and at all relevant times herein was, an individual

residing in the County of Los Angeles, California.

       275.    Plaintiff Jamey Heath is, and at all relevant times herein was, an individual residing

in the County of Los Angeles, California.

       276.    Plaintiff It Ends With Us Movie LLC is, and at all relevant times herein was, a

California limited liability company with its principal place of business in California. No members

of It Ends With Us Movie LLC are citizens of New York. All members of It Ends With Us Movie

LLC are citizens of California.

       277.    Plaintiff Melissa Nathan is, and at all relevant times here in was, an individual

residing in the County of Los Angeles, California.

       278.    Plaintiff Jennifer Abel is, and at all relevant times was, an individual residing in the

County of Los Angeles, California.

       279.    Defendant Blake Lively is, and at all relevant times herein was, an individual

residing in New York, New York.

       280.    Defendant Ryan Reynolds is, and at all relevant times herein was, an individual

residing in New York, New York.

       281.    Upon information and belief, Defendant Leslie Sloane is, and at all relevant times

herein was, an individual residing in New York, New York.

       282.    Defendant Vision PR, Inc. is, and at all relevant times herein was, a New York

corporation with its principal place of business in New York, New York.

                                  JURISDICTION AND VENUE

       283.    This Court has original jurisdiction over the claims for relief asserted in this cross-

complaint pursuant to 28 U.S.C. § 1332 because the matter in controversy exceeds the sum or




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value of $75,000, exclusive of interest and costs, and no Defendant is a citizen of the same state

as any Plaintiff.

         284.     This Court may exercise personal jurisdiction over Defendants pursuant to § 301 of

the New York Civil Practice Law and Rules because all Defendants systematically and

continuously conduct and solicit business within New York and have availed themselves of the

privileges of conducting business in the State of New York.

         285.     This Court may exercise personal jurisdiction over Defendants pursuant to § 302 of

the New York Civil Practice Law and Rules, including because, upon information and belief, all

Defendants transact and solicit business within the State, have committed the tortious acts

described in this Complaint within the State, and/or have committed such acts outside of the State

causing injury to Plaintiffs within the State.

         286.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and (c), because a

substantial part of the events or omissions giving rise to these claims occurred in this District and

because Defendants are subject to personal jurisdiction in this District.

                                        FIRST CAUSE OF ACTION

                                               (Civil Extortion) 24

                               Against Lively, Reynolds, Sloane, and Vision

         287.     Plaintiffs hereby repeat, reiterate, re-allege, and incorporate by reference each and

every allegation of the Complaint as if set forth fully herein.

         288.     Defendants made threats to Plaintiffs that they knew to be wrongful, including

threats to breach contracts, defame Plaintiffs, and injure



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  Lively has contended that California law applies to any dispute involving Plaintiffs or the Film. Without
conceding that Lively’s statutory claims are properly brought, and with reservation of all rights and remedies,
Plaintiffs assert their claims under the substantive laws of the State of California.


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       289.    Defendants’ threats included demands that money, property, services, or other

sources of value be conferred upon Defendants without consideration or contractual entitlement

thereto.

       290.    Plaintiffs complied with the wrongful demands.

       291.    Plaintiffs were harmed.

       292.    Defendants’ wrongful threats and demands were a substantial factor in causing

Plaintiffs’ harm.

       293.    Upon information and belief, each of the Defendants was aware that the others

planned to commit the tort of extortion against Plaintiffs; and that each of the Defendants agreed

with one another and intended that the wrongful acts pleaded herein be committed. Accordingly,

each of the Defendants is equally liable to Plaintiffs for the tort of extortion by reason of their

conspiracy to commit the tort.

       294.    Defendants have engaged in the above-alleged conduct with oppression, fraud, and

malice. Accordingly, Plaintiffs are entitled to an award of punitive and exemplary damages in an

amount to be proved at trial.

                                 SECOND CAUSE OF ACTION

                                           (Defamation)

                          Against Lively, Reynolds, Sloane, and Vision

       295.    Plaintiffs hereby repeat, reiterate, re-allege, and incorporate by reference each and

every allegation of the Complaint as if set forth fully herein.

       296.    Defendants made one or more statements to persons other than Plaintiffs, including

without limitation to the New York Times, to the effect that Plaintiffs engaged in, permitted, and/or

failed to prevent sexually inappropriate conduct toward Lively and others, and that Plaintiffs




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retaliated against Lively and others for reporting the alleged sexual misconduct including by

propagating false and misleading narratives about Lively for the purpose of damaging her image

and reputation.

       297.       The persons to whom Defendants made these statements reasonably understood

that these statements were made about Plaintiffs.

       298.       The statements made by Defendants were intended to and did have the effect of

exposing Plaintiffs to hatred, contempt, ridicule, or obloquy, or of causing them to be shunned or

avoided, or of having a tendency to injury them in their occupations. Specifically, the persons to

whom Defendants made the statements reasonably understood the statements to mean that

Plaintiffs engaged in, permitted, and/or failed to prevent sexually inappropriate conduct toward

Lively and others, and that Plaintiffs retaliated against Lively and others for reporting the alleged

sexual misconduct including by propagating false and misleading narratives about Lively for the

purpose of damaging her image and reputation.

       299.       The statements made by Defendants about Plaintiffs were false. Furthermore,

Defendants knew the statements were false, or had serious doubts about the truth of the statements.

       300.       Defendants’ false statements about Plaintiffs to third parties were a substantial

factor in causing harm to Plaintiffs’ property, business, trade, profession, and/or occupation;

expenses Plaintiffs had to pay as a result of the defamatory statements; harm to Plaintiffs’

reputations; and, with respect to Baldoni and Heath, shame, mortification, and hurt feelings.

       301.       Upon information and belief, each of the Defendants was aware that the others

planned to commit the tort of defamation against Plaintiffs; and that each of the Defendants agreed

with one another and intended that the wrongful acts pleaded herein be committed. Accordingly,




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each of the Defendants is equally liable to Plaintiffs for the tort of defamation by reason of their

conspiracy to commit the tort.

       302.    Defendants have engaged in the above-alleged conduct with oppression, fraud, and

malice. Accordingly, Plaintiffs are entitled to an award of punitive and exemplary damages in an

amount to be proved at trial.

                                 THIRD CAUSE OF ACTION

               (False Light Invasion of Privacy – California Const., Art. I, § 1)

      By Baldoni, Heath, Nathan, and Abel Against Lively, Reynolds, Sloane, and Vision

       303.    Plaintiffs Baldoni, Heath, Nathan, and Abel hereby repeat, reiterate, re-allege, and

incorporate by reference each and every allegation of the Complaint as if set forth fully herein.

       304.    As alleged herein above, Defendants Lively, Reynolds, Sloane, and Vision publicly

disclosed information or material regarding Plaintiffs Baldoni, Heath, Nathan, and Abel’s

professional decisions, moral character, private life, and family, which showed Baldoni, Heath,

Nathan, and Abel in a false light.

       305.    The false light created by the disclosures of Defendants would be highly offensive

and objectionable to a reasonable person in Plaintiffs’ position, in that it made Baldoni, Heath,

Nathan, and Abel the objects of scorn, pity, ridicule, humiliation, and other suffering.

       306.    These Defendants knew the public disclosures would create a false impression

about Baldoni, Heath, Nathan, and Abel or acted with reckless disregard for the truth.

       307.    As a direct and proximate result of the said publicity and false and misleading

disclosures, Baldoni, Heath, Nathan, and Abel sustained harm, including to their business and

professions, as well as their reputations. Further, Baldoni, Heath, Nathan, and Abel have suffered,

and continue to suffer, from grief and anxiety as a result of the wanton destruction of their public




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reputations and characters. As a further direct and proximate result of the said disclosures,

Plaintiffs Baldoni, Heath, Nathan, and Abel have suffered loss of income and interference with

future income.

       308.      The conduct of Defendants described herein was a substantial factor in causing

Plaintiffs Baldoni, Heath, Nathan, and Abel’s harm, constituted a serious invasion of their rights

to privacy, and was an egregious breach of social norms that shocks the conscience.

       309.      Upon information and belief, each of the Defendants was aware that the others

planned to commit the tort of false light invasion of privacy against Plaintiffs Baldoni, Heath,

Nathan, and Abel; and that each of the Defendants agreed with one another and intended that the

wrongful acts pleaded herein be committed. Accordingly, each of the Defendants is equally liable

to Plaintiffs Baldoni, Heath, Nathan, and Abel for the tort of false light invasion of privacy by

reason of their conspiracy to commit the tort.

       310.      Defendants have engaged in the above-alleged conduct with oppression, fraud, and

malice. Accordingly, Plaintiffs Baldoni, Heath, Nathan, and Abel are entitled to an award of

punitive and exemplary damages in an amount to be proved at trial.

                                  FOURTH CAUSE OF ACTION

                 (Breach of Implied Covenant of Good Faith and Fair Dealing)

                                            Against Lively

       311.      Plaintiffs hereby repeat, reiterate, re-allege, and incorporate by reference each and

every allegation of the Complaint as if set forth fully herein.

       312.      Lively and Plaintiffs entered into a contract by which Lively agreed to perform as

an actor in the Film It Ends With Us.




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        313.       Plaintiffs did all, or substantially all, of the significant things that the contract

required them to do, or, in the alternative, Plaintiffs were excused from having to do those things.

        314.       All of the conditions required, if any, for Lively’s performance had occurred or, in

the alternative, were excused.

        315.       Lively engaged in conduct that prevented Plaintiffs from receiving the benefits

contemplated under the contract. Specifically, Lively interfered with the production by making

repeated threats and demands in order to seize creative control over the production, editing, and

marketing of the Film, such that Defendants were deprived of the opportunity to produce, edit, and

market a film as contemplated by the contract.

        316.       By doing so, Lively did not act fairly and in good faith.

        317.       Plaintiffs were harmed by Lively’s conduct.

                                     FIFTH CAUSE OF ACTION

                        (Intentional Interference with Contractual Relations)

                                      Against Reynolds and Lively

        318.       Plaintiffs hereby repeat, reiterate, re-allege, and incorporate by reference each and

every allegation of the Complaint as if set forth fully herein.

        319.       There was a contract between Plaintiffs and William Morris Endeavor (“WME”).

        320.       Defendants Lively and Reynolds knew of the contract.

        321.       Defendants Livelyand Reynolds prevented performance of the contract or made

performance more expensive or difficult. Specifically, upon information and belief, Lively and

Reynolds made threats and/or demands to induce WME to cease performing under its contract

with Plaintiffs.




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       322.    Defendants Lively and Reynolds intended to disrupt the performance of this

contract or, in the alternative, knew that disruption of performance was certain or substantially

certain to occur.

       323.    Plaintiffs were harmed.

       324.    Defendants’ conduct was a substantial factor in causing Plaintiffs’ harm.

       325.    Upon information and belief, each of the Defendants Lively and Reynolds was

aware that the others planned to commit the tort of intentional interference with contractual

relations against Plaintiffs; and that each of the aforementioned Defendants agreed with one

another and intended that the wrongful acts pleaded herein be committed. Accordingly, each of

the aforementioned Defendants is equally liable to Plaintiffs for the tort of intentional interference

with contractual relations by reason of their conspiracy to commit the tort.

       326.    Defendants Lively and Reynolds have engaged in the above-alleged conduct with

oppression, fraud, and malice. Accordingly, Plaintiffs are entitled to an award of punitive and

exemplary damages in an amount to be proved at trial.

                                  SIXTH CAUSE OF ACTION

               (Intentional Interference with Prospective Economic Advantage)

                                   Against Reynolds and Lively

       327.    Plaintiffs hereby repeat, reiterate, re-allege, and incorporate by reference each and

every allegation of the Complaint as if set forth fully herein.

       328.    Plaintiffs and WME were in an economic relationship that probably would have

resulted in an economic benefit to Plaintiffs.

       329.    Defendants Lively and Reynolds knew of the relationship.




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        330.    Defendants Lively and Reynolds engaged in wrongful conduct, specifically, by

making threats and/or demands that WME terminate its economic relationship with Plaintiffs.

        331.    By engaging in this conduct, Defendants intended to disrupt the relationship, or, in

the alternative, knew that disruption of the relationship was certain or substantially certain to occur.

        332.    The relationship was disrupted.

        333.    Plaintiffs were harmed.

        334.    Defendants’ conduct was a substantial factor in causing Plaintiffs’ harm.

        335.    Upon information and belief, each of the Defendants Lively and Reynolds was

aware that the others planned to commit the tort of intentional interference with prospective

economic relations against Plaintiffs; and that each of the aforementioned Defendants agreed with

one another and intended that the wrongful acts pleaded herein be committed. Accordingly, each

of the aforementioned Defendants is equally liable to Plaintiffs for the tort of intentional

interference with prospective economic relations by reason of their conspiracy to commit the tort.

        336.    Defendants Lively and Reynolds have engaged in the above-alleged conduct with

oppression, fraud, and malice. Accordingly, Plaintiffs are entitled to an award of punitive and

exemplary damages in an amount to be proved at trial.

                                SEVENTH CAUSE OF ACTION

                (Negligent Interference with Prospective Economic Advantage)

                                    Against Reynolds and Lively

        337.    Plaintiffs hereby repeat, reiterate, re-allege, and incorporate by reference each and

every allegation of the Complaint as if set forth fully herein.

        338.    Plaintiffs and WME were in an economic relationship that probably would have

resulted in an economic benefit to Plaintiffs.




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       339.    Defendants Lively and Reynolds knew of the relationship.

       340.    Defendants Lively and Reynolds knew or should have known that this relationship

would be disrupted if they failed to act with reasonable care.

       341.    Defendants failed to act with reasonable care.

       342.    Defendants engaged in wrongful conduct by threatening and/or making demands

that WME sever its economic relationship with Plaintiffs.

       343.    The relationship was disrupted.

       344.    Plaintiffs were harmed.

       345.    Defendants’ wrongful conduct was a substantial factor in causing Plaintiffs’ harm.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for the following relief:

       1.      For a money judgment representing compensatory damages including

consequential damages, lost wages, earnings, and all other sums of money, together with interest

on those amounts, in an amount to be proven at trial but in no event less than $400,000,000;

       2.      For an award of money judgment for mental pain and anguish and severe and

serious emotional distress, as applicable, in an amount to be proven at trial;

       3.      For pre- and post-judgment interest;

       4.      For punitive damages according to proof;

       5.      For attorney’s fees and costs incurred by Plaintiffs, as applicable; and

       6.      For such other legal and equitable relief as the Court deems appropriate.

                                 DEMAND FOR JURY TRIAL

       Plaintiffs demand a jury trial on all causes of action so triable.




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                                            Respectfully submitted,
  Dated: January 16, 2025
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  Dated: January 16, 2025                   LINER FREEDMAN TAITELMAN
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                                            forthcoming




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